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Buchanan      Ingersoll· Rooney


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                                                                F 202 452 7989




                                     February 22, 2023


United States Court of Appeals for the Federal Circuit
Clerk of Court, Peter R. Marksteiner
717 Madison Place, NW, Suite 401
Washington, DC 20439

Dear Mr. Marksteiner,

        This cover letter is submitted in satisfaction of Federal Circuit Rule 25.1 to

specify which counsel who have entered an appearance in the U.S. Court of Appeals

for the Federal Circuit Case No. 2023-1355 and are not part of the applicable

underlying Judicial Protective Order at the U.S. Court of International Trade and,

accordingly, are not authorized to access the confidential version of the Coalition of

Freight Coupler Producers’ (Defendant-Intervenor-Appellee’s) response brief and

appendix. The Judicial Protective Order and docket listing the individuals included

in the sealed group from U.S. Court of International Trade Case No. 22-00307 are

enclosed herein.

        By way of background, the U.S. Court of International Trade in Case No. 22-

00307 issued an Order on October 17, 2022 indicating that certain identifying


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information should be treated as confidential, and the Order appears as CIT docket

entry 24. (Appx2006-2007). Subsequently, the Court of International Trade issued

a Protective Order (docket entry 53 of CIT Case No. 22-00307) that indicates the

obligations and protections imposed by the Protective Order shall continue beyond

the conclusion of the case, including any appellate proceedings, or until the Court

orders otherwise. (Appx.i-v). Defendant-Intervenor-Appellee’s response brief has

been bracketed in the confidential version and redacted in the public version. Public

disclosure of the bracketed information could cause competitive harm.

      Defendant-Intervenor-Appellee identified that Attorney Jay Alexander from

Covington & Burling LLP has entered an appearance in the instant Case No. 2023-

1355 and was not a party to the Judicial Protective Order in the case below.

Accordingly, Defendant-Intervenor-Appellee suggests that it would be appropriate

for Attorney Jay Alexander to take the appropriate steps be added to the Protective

Order before receiving the confidential version of the Coalition’s response brief and

the confidential version of the appendix.


                                       Respectfully submitted,

                                       /s/ Daniel B. Pickard
                                       Daniel B. Pickard
                                       BUCHANAN INGERSOLL & ROONEY PC
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                                       Washington D.C. 20006-3807
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            Case:
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                UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE: THE HONORABLE GARY S. KATZMAN, JUDGE


AMSTED RAIL COMPANY, INC.,
ASF-K DE MEXICO S. DE R.L. DE C.V.,
STRATO, INC., WABTEC CORP.,
AND TTX COMPANY,

                        Plaintiffs,

        v.                                                       Court No. 22-00307

UNITED STATES INTERNATIONAL
TRADE COMMISSION,

                        Defendant,

and

COALITION OF FREIGHT RAIL
COUPLER PRODUCERS,

                        Defendant-Intervenor.


                                      PROTECTIVE ORDER

   1. For the purposes of this Protective Order, “Proprietary Information” means information,

data and documents the public disclosure of which would cause substantial competitive harm to

the submitting party. Examples of such information would include: (1) terms of sale, prices of

individual sales, likely sales, or other offers and names of particular customers, distributors, or

suppliers; (2) information that any party or person is prohibited from releasing publicly pursuant

to contracts, applicable statutes, applicable regulations, or directives from the Government; (3)

private information that is otherwise protected from disclosure under applicable law including,

but not limited to, personnel files, financial information and other business records; and (4) other




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confidential research, development, or commercial information as set forth in Rule 26(c)(1)(G)

of the Rules of this Court.

   2. This Protective Order is not intended to address or govern claims of privilege or work

product that may otherwise be asserted by any of the parties. This Protective Order does not

restrict in any manner a party’s use of its own Proprietary Information.

   3. No receiving party may disclose any document designated as containing Proprietary

Information, or any information contained in such a document, to any person other than:

           A. Counsel for a party in this action who are engaged in the conduct or preparation

               of this action or any appeal from a decision in this action;

           B. Secretaries, paralegal assistants, clerical personnel, and other employees of a

               party in this action who are engaged in assisting counsel (as described in item A

               of this paragraph) in the preparation of this action;

           C. Persons who prepared, received, or reviewed such Proprietary Information prior

               to its production in this case;

           D. Government personnel or investigators to whom counsel determine in good faith

               that disclosure is required to assist in the disposition of this case;

           E. Authorized personnel of the U.S. Court of International Trade;

           F. Videographers or court reporters retained by a party to this action or the Court;

               and

           G. Any third-party consultant or experts who are retained to assist in the preparation

               of this action.

   4. Counsel for the parties shall cause all persons under counsel’s direction and control who

see Proprietary Information to comply with the terms of this Protective Order, and to sign a




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statement to be filed with the Court acknowledging that their access to Proprietary Information

will be under the direction and control of counsel, and that they will comply with the terms of

this Protective Order. The filing of a Form 17 (Business Proprietary Information Certification)

under the Rules of the U.S. Court of International Trade will satisfy the requirements of this

paragraph. The requirement to sign and file a statement with the Court does not apply to

Government personnel.

   5. All persons having access to Proprietary Information shall maintain it in a safe and secure

manner to ensure compliance with this Protective Order. Persons receiving Proprietary

Information pursuant to this Protective Order will not use or disclose any such information for

any purpose other than the litigation of this action.

   6. A designation of information as “confidential” or “business proprietary” is to be made by

enclosing such information in brackets and stamping or otherwise inscribing the word

“CONFIDENTIAL” and/or “BUSINESS PROPRIETARY INFORMATION” and/or

“PROPRIETARY DOCUMENT” and/or “SUBJECT TO PROTECTIVE ORDER” upon the

document itself. When a document contains information that is both non-confidential and

confidential, the producing party will make a reasonable effort to segregate the confidential

portions by clearly identifying the specific pages and/or portions thereof which are confidential.

The filing with the Court of confidential and public versions of a party’s appendix will satisfy the

requirements of this paragraph. Those portions of documents which are not confidential will not

be restricted by this Protective Order, and the parties, in their publicly filed pleadings, publicly

filed briefs, or other publicly filed submissions, may quote, reference, or summarize non-

confidential information contained in a document containing both non-confidential and

confidential information, without redaction.




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   7. Any documents, including briefs and memoranda that are filed with the Court in this civil

action and that contain any Proprietary Information, shall be conspicuously marked as containing

Proprietary Information that is not to be disclosed to the public.

   8. Arrangements shall be made with the Clerk of the Court to retain such documents under

seal, permitting access only to the Court, Court personnel authorized by the Court to have access,

counsel for the plaintiff, and counsel for the defendant. The party filing any document referred to

in this paragraph shall also file a non-confidential version of such document from which all of

the Proprietary Information shall have been deleted in accordance with Rule 81 of the Rules of

this Court. The non-confidential version may be filed within one day of the filing of the original

confidential version in accordance with Rule 5(g) of the Rules of this Court.

   9. If counsel for any party to this Protective Order finds it necessary to refer to Proprietary

Information in any oral proceeding before this Court, such counsel shall notify the Court and all

other counsel of record as soon as the necessity becomes apparent and propose whatever

mechanism which may be available and appropriate to prevent disclosure of Proprietary

Information to persons other than those authorized by this Protective Order.

   10. The obligations and protections imposed by this Protective Order shall continue beyond

the conclusion of this case, including any appellate proceedings, or until the Court orders

otherwise.

   11. Within 30 days of the final conclusion of this litigation, including such appellate review

as may occur, documents designated as Proprietary Information and all copies of same (other

than exhibits of record) will be destroyed by any non-Government receiving party and such

parties will certify to the Court the destruction of same.




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   12. Any party may petition the Court, on reasonable notice to all other parties, for a

modification of the terms of this Protective Order. The Court shall have continuing jurisdiction

to modify, amend, enforce, interpret, or rescind any or all provisions of this Protective Order,

notwithstanding the final termination or conclusion of this case.

   13. If a dispute arises concerning the designation of any Proprietary Information, the parties

shall first take reasonable steps to meet and confer in good faith to resolve any dispute on an

informal basis before seeking the Court’s intervention.

   14. If the parties cannot informally resolve any dispute regarding whether particular

information is properly designated as Proprietary Information under this Protective Order, a

party may apply to or move for the Court to resolve the issue. Material designated as Proprietary

Information shall be treated as such by the parties until the Court has determined or ordered

otherwise. The burden rests on the party designating the material as Proprietary Information to

demonstrate that such designation is proper.



       SO ORDERED.


                                                       _____________________
                                                       /S/ Gary S. Katzmann
                                                       JUDGE

 Dated: ______________________
        October 27, 2022
 New York, New York




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                                                                                                          APPEAL,TERMINATED

                                         U.S. Court of International Trade
                                            LIVE Database (New York)
                                   CIT DOCKET FOR CASE #: 1:22-cv-00307-GSK


 Amsted Rail Company, Inc. et al v. United States International
 Trade Commission
 Assigned to: Gary S. Katzmann
 Lead Docket:
                                                                                       Date Filed: 10/14/2022
 Jurisdiction:                                                                         Jury Demand: No
 28USC § 1581(i) Residual Jurisdiction

                                                                                       Date Terminated: 11/15/2022
 Category:
 Tariffs, Duties, Fees, Other Taxes 28USC § 1581(i)(2)                                 Date Reopened:
 Administration and Enforcement 28USC § 1581(i)(4)
                                                                                       Does this action raise an issue of
                                                                                       constitutionality?: N
 Agency:
 U.S. International Trade Commission


 Product Description:
 Freight Rail Couplers


 Export Country:
 China
 Mexico
 Plaintiff
 Amsted Rail Company, Inc.                                               represented by Richard Preston Ferrin
                                                                                        Faegre Drinker Biddle & Reath, LLP
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 Plaintiff
 ASF-K de Mexico S. de R.L. de C.V.                                      represented by Richard Preston Ferrin
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                                                                                    Brian Perryman
                                                                                    (See above for address)
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                                                                                    Carolyn Bethea Connolly
                                                                                    (See above for address)
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                                                                                    Douglas John Heffner
                                                                                    (See above for address)
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                                                                                    ATTORNEY IN SEALED GROUP
                                                                                    Bar Status: ACTIVE
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 Plaintiff
 Strato, Inc.                                                            represented by Andrew Thomas Schutz
                                                                                        Grunfeld Desiderio Lebowitz Silverman &
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                                                                                       Richard Preston Ferrin
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 TTX Company                                                             represented by James McCall Smith
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 Coalition of Freight Coupler Producers                                  represented by Daniel Brian Pickard
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                                                                                      Buchanan Ingersoll & Rooney PC
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  Date Filed              #     Docket Text
  10/14/2022               1 Summons Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on
                             behalf of All Plaintiffs. (Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022               2 Form 5 Information Statement . Filed by Richard Preston Ferrin of Faegre Drinker Biddle
                             & Reath, LLP on behalf of All Plaintiffs. (Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022               3 Form 13 Corporate Disclosure Statement for Amsted Rail Company, Inc. Filed by Richard
                             Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of Amsted Rail
                             Company, Inc.. (Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022               4 Form 13 Corporate Disclosure Statement for ASF-K de Mexico S. de R.L. de C.V.. Filed
                             by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de
                             Mexico S. de R.L. de C.V.. (Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022               5 Form 13 Corporate Disclosure Statement for Strato, Inc Filed by Richard Preston Ferrin
                             of Faegre Drinker Biddle & Reath, LLP on behalf of Strato, Inc.. (Ferrin, Richard)
                             (Entered 10/14/2022)
  10/14/2022               6 Form 13 Corporate Disclosure Statement for TTX Company. Filed by Richard Preston
                             Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of TTX Company. (Ferrin,
                             Richard) (Entered: 10/14/2022)
  10/14/2022               7 Form 13 Corporate Disclosure Statement for Wabtec Corp. Filed by Richard Preston
                             Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of Wabtec Corp (Ferrin,
                             Richard) (Entered: 10/14/2022)
  10/14/2022               8 Form 11 Notice of Appearance for Richard P. Ferrin. Filed by Richard Preston Ferrin of
                             Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de Mexico S. de R.L. de C.V.,
                             Amsted Rail Company, Inc..(Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022               9 Form 11 Notice of Appearance for Douglas J Heffner Filed by Richard Preston Ferrin of
                             Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de Mexico S. de R.L. de C.V.,
                             Amsted Rail Company, Inc (Ferrin, Richard) (Entered 10/14/2022)


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  10/14/2022             10 Form 11 Notice of Appearance for Carolyn Bethea Connolly. Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF K de Mexico S de R L
                            de C.V., Amsted Rail Company, Inc..(Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022             11 Form 11 Notice of Appearance for Andrew T. Schutz and Ned H. Marshak. Filed by
                            Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of Strato, Inc..
                            (Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022             12 Form 11 Notice of Appearance for David M Morrell Filed by Richard Preston Ferrin of
                            Faegre Drinker Biddle & Reath, LLP on behalf of Wabtec Corp..(Ferrin, Richard)
                            (Entered 10/14/2022)
  10/14/2022             13 Form 11 Notice of Appearance for James M. Smith, Shara L. Aranoff, and Sooan (Vivian)
                            Choi. Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf
                            of TTX Company.(Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022             14 Verified Complaint against U.S. International Trade Commission. Answer due by
                            12/13/2022 Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on
                            behalf of All Plaintiffs.(Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022             15 Application/Motion for temporary restraining order . Responses due by 11/4/2022. Filed
                            by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All
                            Plaintiffs.(Ferrin, Richard) (Entered: 10/14/2022)
  10/14/2022             16 Application/Motion for temporary restraining order (Proposed Order) Responses due by
                            11/4/2022 Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on
                            behalf of All Plaintiffs (Ferrin, Richard) (Entered 10/14/2022)
  10/14/2022             17 Memorandum of Points and Authorities in Support of Plaintiffs' Motion for Temporary
                            Restraining Order. Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath,
                            LLP on behalf of All Plaintiffs. (Ferrin, Richard) (Entered: 10/14/2022)
  10/17/2022             18 Certificate of service (related document(s) 15 , 17 , 1 , 14 , 16 ). Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All Plaintiffs (Ferrin,
                            Richard) (Entered: 10/17/2022)
  10/17/2022             19 TRO Status Conference. Status Conference set for 10/17/2022 02:00 PM in Courtroom
                            No. 1. (Cheevers, Casey) (Entered: 10/17/2022)
  10/17/2022             20 Status Conference held on 10/17/2022 at 2:00 p.m. in Courtroom No. 1. Appearance
                            Sheet attached (Cheevers, Casey) (Entered 10/17/2022)
  10/17/2022             21 Confidential Order entered on 10/17/2022 staying the release of business proprietary
                            information submitted by Plaintiffs.(Related Doc # 15 )(Related Doc # 16 ). (Cheevers,
                            Casey) (Entered: 10/17/2022)
  10/17/2022             22 Public Version of Confidential Order entered on 10/17/2022 staying the release of
                            business proprietary information submitted by Plaintiffs (related document 21
                            (Cheevers, Casey) (Entered: 10/17/2022)
  10/17/2022             23 [DUPLICATE ENTRY OF DOCUMENT 22 ] Public Version of Confidential Order
                            entered on 10/17/2022 staying the release of business proprietary information submitted
                            by Plaintiffs. (Related Doc # 16 ). (Cheevers, Casey) Modified on 10/17/2022 (Cheevers,
                            Casey). (Entered: 10/17/2022)
  10/17/2022             24 Order entered on 10/17/2022 Procedural Order: Consistent with the issuance of public
                            and confidential versions of an order in this case by the court today [Docs # 21 and 22] as
                            relates to the identifying information in that order, the parties are directed henceforth to

https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?116952961523817-L_1_0-1                                                  7/15
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                              file public and confidential versions relating to that identifying information (Warner,
                              Scott) (Entered: 10/17/2022)
  10/17/2022             25 Order entered on 10/17/2022 Amended Order ORDERED that the release by the
                            International Trade Commission to [[ ]] of business proprietary information submitted by
                            Plaintiffs in the antidumping and countervailing duty investigations, as well as the
                            requirement of Plaintiffs to disclose such business proprietary information to [[ ]], before
                            the Commission styled Certain Freight Rail Couplers and Parts Thereof from China and
                            Mexico, USITC Inv. Nos. 701-TA-682 and 731-TA-1593-1593, BE STAYED. (Swindell,
                            Stephen) (Entered: 10/17/2022)
  10/17/2022             26 Order entered on 10/17/2022 Amended Confidential Order (Swindell, Stephen) (Entered
                            10/17/2022)
  10/18/2022             27 Confidential Order entered on 10/18/2022 granting Motion for temporary restraining
                            order (Related Doc # 15 ) (Related Doc # 16 ). (Cheevers, Casey) (Entered: 10/18/2022)
  10/18/2022             28 Public Version of Confidential Temporary Restraining Order entered on 10/18/2022.
                            [SEE ORDER FOR DETAILS] ORDERED that Plaintiffs' Motion for Temporary
                            Restraining Order is GRANTED effective at 10:30 a.m. on October 18, 2022. ORDERED
                            that Defendant shall, by October 21, 2022, file a response to Plaintiffs' Motion for
                            Temporary Restraining Order, Oct. 14, 2022, ECF No. 15, which the court deems to be a
                            motion for preliminary injunction absent objection by Plaintiffs; that Plaintiff's shall file a
                            reply to Defendant's response by October 26, 2022; ORDERED that, pursuant to USCIT
                            Rule 65(b), the Commission and other persons so temporarily enjoined shall remain
                            enjoined effective from the date of issuance of this order until the earlier of November 1,
                            2022, fourteen days from the date of this order, unless renewed, or the date upon which
                            this court rules on the Motion for Preliminary Injunction after a hearing scheduled by the
                            court (Cheevers, Casey) (Entered 10/18/2022)
  10/18/2022             29 Bond in the amount of $ 1.00 posted as required by TRO. Filed by Richard Preston Ferrin
                            of Faegre Drinker Biddle & Reath, LLP on behalf of All Plaintiffs. (Ferrin, Richard)
                            (Entered: 10/18/2022)
  10/18/2022             30 Erratum Order for Temporary Restraining Order entered on 10/18/2022.(Cheevers,
                            Casey) (Entered 10/18/2022)
  10/18/2022             31 Form 11 Notice of Appearance . Filed by Daniel Brian Pickard of Buchanan Ingersoll and
                            Rooney PC on behalf of Coalition of Freight Coupler Producers.(Pickard, Daniel)
                            (Entered: 10/18/2022)
  10/18/2022             32 Form 11 Notice of Appearance for Claire M. Webster. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers
                            (Pickard, Daniel) (Entered: 10/18/2022)
  10/18/2022             33 Form 11 Notice of Appearance for Amanda Wetzel. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers.
                            (Pickard, Daniel) (Entered: 10/18/2022)
  10/18/2022             34 Form 13 Corporate Disclosure Statement of the Coalition of Freight Coupler Producers
                            Filed by Daniel Brian Pickard of Buchanan Ingersoll and Rooney PC on behalf of
                            Coalition of Freight Coupler Producers (Pickard, Daniel) (Entered 10/18/2022)
  10/18/2022             35 Partial Consent Motion to Intervene as Defendant-Intervenor Coalition of Freight
                            Coupler Producers. Responses due by 11/8/2022. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers.
                            (Pickard, Daniel) (Entered: 10/18/2022)


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  10/19/2022             36 Order entered on 10/19/2022 assigning action to Judge Gary S. Katzmann.(Cheevers,
                            Casey) (Entered 10/19/2022)
  10/19/2022             37 Form 11 Notice of Appearance for Brian Perryman. Filed by Richard Preston Ferrin of
                            Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de Mexico S. de R.L. de C.V.,
                            Amsted Rail Company, Inc..(Ferrin, Richard) (Entered: 10/19/2022)
  10/20/2022             38 Order entered on 10/20/2022 granting Consent Motion to intervene as defendant-
                            intervenor ORDERED that the Coalition of Freight Coupler Producers is a party to this
                            action as defendant-intervenor (Related Doc # 35 ). (Goell, Geoffrey) (Entered:
                            10/20/2022)
  10/21/2022             39 Transcript of TRO Status Conference held on 10/17/2022 filed with court. Pursuant to
                            Administrative Order 08-01 re: the redaction of personal data identifiers. Notice of Intent
                            to Redact Deadline due 10/28/2022. Redaction Request due 11/14/2022. Redacted
                            Transcript Deadline set for 11/21/2022. Release of Transcript Restriction set for
                            1/19/2023. (Goell, Geoffrey) (Entered: 10/21/2022)
  10/21/2022             40 Form 11 Notice of Appearance . Filed by David A.J. Goldfine of U.S. International Trade
                            Commission on behalf of All Defendants (Goldfine, David) (Entered 10/21/2022)
  10/21/2022             41 Confidential Response to motion for a Preliminary Injunction (related document(s) 15 ).
                            Filed by Jane Chang Dempsey of U.S. International Trade Commission on behalf of
                            United States International Trade Commission. (Attachments: # 1 Proposed Order, # 2
                            Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                            Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12,
                            # 14 Exhibit 13) (Dempsey, Jane) (Entered: 10/21/2022)
  10/21/2022             42 Public Response to motion for a Preliminary Injunction (related document(s) 15 ) Filed
                            by Jane Chang Dempsey of U.S. International Trade Commission on behalf of United
                            States International Trade Commission (Attachments # 1 Proposed Order, # 2 Exhibit 1,
                            # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                            Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit
                            13) (Dempsey, Jane) (Entered: 10/21/2022)
  10/24/2022             43 Confidential Amended complaint against All Defendants (related document(s) 14 ). Filed
                            by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All
                            Plaintiffs. (Attachments: # 1 Redline to Original Complaint)(Ferrin, Richard) (Entered:
                            10/24/2022)
  10/24/2022             44 Public Amended complaint against All Defendants (related document(s) 43 , 14 ). Filed
                            by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All
                            Plaintiffs. (Attachments: # 1 Redline to Original Complaint)(Ferrin, Richard) (Entered:
                            10/24/2022)
  10/24/2022             45 Confidential Motion to dismiss case . Response to Dispositive Motion due by 11/28/2022.
                            Filed by Andrea C. Casson of U.S. International Trade Commission on behalf of United
                            States International Trade Commission. (Attachments: # 1 Letter, # 2 Letter)(Casson,
                            Andrea) (Entered: 10/24/2022)
  10/24/2022             46 Motion to dismiss case Response to Dispositive Motion due by 11/28/2022 Filed by
                            Andrea C. Casson of U.S. International Trade Commission on behalf of United States
                            International Trade Commission (Attachments # 1 Letter, # 2 Letter)(Casson, Andrea)
                            (Entered: 10/24/2022)
  10/24/2022             47 Confidential Second Application/Motion for preliminary injunction . Responses due by
                            11/14/2022 Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP,
                            David M. Morrell of Jones Day, Brian Perryman of Faegre Drinker Biddle & Reath LLP,
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?116952961523817-L_1_0-1                                                  9/15
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                              Douglas John Heffner of Faegre Drinker Biddle & Reath, LLP, Carolyn Bethea Connolly
                              of Faegre Drinker Biddle & Reath, LLP, Andrew Thomas Schutz of Grunfeld Desiderio
                              Lebowitz Silverman & Klestadt, LLP, Ned Herman Marshak of Grunfeld Desiderio
                              Lebowitz Silverman & Klestadt, LLP, James McCall Smith of Covington & Burling LLP,
                              Shara Louise Aranoff of Covington & Burling LLP, Sooan (Vivian) Choi of Covington &
                              Burling LLP on behalf of All Plaintiffs. (Attachments: # 1 Memorandum of Law, # 2
                              Proposed Order)(Ferrin, Richard) (Entered 10/24/2022)
  10/24/2022             48 Second Application/Motion for preliminary injunction (Public Version). Responses due
                            by 11/14/2022 Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP,
                            David M. Morrell of Jones Day, Brian Perryman of Faegre Drinker Biddle & Reath LLP,
                            Douglas John Heffner of Faegre Drinker Biddle & Reath, LLP, Carolyn Bethea Connolly
                            of Faegre Drinker Biddle & Reath, LLP, Andrew Thomas Schutz of Grunfeld Desiderio
                            Lebowitz Silverman & Klestadt, LLP, Ned Herman Marshak of Grunfeld Desiderio
                            Lebowitz Silverman & Klestadt, LLP, James McCall Smith of Covington & Burling LLP,
                            Shara Louise Aranoff of Covington & Burling LLP, Sooan (Vivian) Choi of Covington &
                            Burling LLP on behalf of All Plaintiffs. (Attachments: # 1 Memorandum of Law, # 2
                            Proposed Order)(Ferrin, Richard) (Entered: 10/24/2022)
  10/26/2022             49 Joint Motion for protective order Responses due by 11/16/2022 Filed by Jane Chang
                            Dempsey of U.S. International Trade Commission on behalf of United States
                            International Trade Commission (Attachments # 1 Protective Order)(Dempsey, Jane)
                            (Entered: 10/26/2022)
  10/26/2022             50 Reply in Support of Plaintiffs' First Motion for Preliminary Injunction (related
                            document(s) 41 , 42 ). Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath,
                            LLP on behalf of All Plaintiffs.(Ferrin, Richard) (Entered: 10/26/2022)
  10/26/2022             51 Confidential Response to motion Request for Temporary Restraining Order and Proposed
                            Order to Vacate (related document(s) 15 ). Filed by Daniel Brian Pickard of Buchanan
                            Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers
                            (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                            Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10) (Pickard, Daniel)
                            (Entered: 10/26/2022)
  10/26/2022             52 Response to motion Request for Temporary Restraining Order and Proposed Order to
                            Vacate (related document(s) 15 ). Filed by Daniel Brian Pickard of Buchanan Ingersoll
                            and Rooney PC on behalf of Coalition of Freight Coupler Producers. (Attachments: # 1
                            Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                            Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10) (Pickard, Daniel) (Entered:
                            10/26/2022)
  10/27/2022             53 Order entered on 10/27/2022 joint granting Motion for protective order. Joint Protective
                            Order issued (Related Doc # 49 ) (Goell, Geoffrey) (Entered 10/27/2022)
  10/27/2022             54 Order entered on 10/27/2022; ORDERED that the Temporary Restraining Order is
                            extended and will continue in full force and effect to November 15, 2022 at 10:30 a.m.
                            Eastern Time, fourteen days from the initial expiration of the Temporary Restraining
                            Order, subject to further order of this court; and it is further ORDERED that the
                            Commission shall, by 6 p.m. Eastern Time on November 2, 2022, file a sur-reply to
                            Plaintiffs' Reply Brief, Oct. 26, 2022, ECF No. 50; and it is further ORDERED that
                            Plaintiffs shall, by 6 p.m. Eastern Time on November 2, 2022, file a response to
                            Defendant-Intervenor's Response to Motion for Temporary Restraining Order and Motion
                            to Vacate Temporary Restraining Order, Oct. 26, 2022, ECF No. 51; and it is further
                            ORDERED that a hearing on Plaintiffs' First Motion for Preliminary Injunction and
                            Defendant-Intervenor's Motion to Vacate the Temporary Restraining Order is scheduled

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                              for November 7, 2022 at 2 30 p m Eastern Time at the Court of International Trade in
                              New York, New York in Courtroom No. 1. (Goell, Geoffrey) (Entered: 10/27/2022)
  10/27/2022             55 Certificate of service of Summons and Amended Complaint (related document(s) 1 , 43 ).
                            Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All
                            Plaintiffs. (Ferrin, Richard) (Entered: 10/27/2022)
  10/28/2022             56 Consent Motion to reschedule hearing for 11/9/2022 (related document(s) 54 )
                            Responses due by 11/18/2022. Filed by Daniel Brian Pickard of Buchanan Ingersoll and
                            Rooney PC on behalf of Coalition of Freight Coupler Producers (Pickard, Daniel)
                            Modified on 10/28/2022 (Goell, Geoffrey). (Entered: 10/28/2022)
  10/28/2022             57 Order entered on 10/28/2022 granting Consent Motion to reschedule Hearing.
                            ORDERED that the Hearing on Plaintiffs' First Motion for Preliminary Injunction and
                            Defendant-Intervenor's Motion to Vacate the Temporary Restraining Order is rescheduled
                            for Wednesday, November 9, 2022 at 9:00 a.m. in Court of International Courtroom 1
                            (Related Doc # 56 ). (Goell, Geoffrey) (Entered: 10/28/2022)
  10/31/2022             58 Form 11 Notice of Appearance Filed by Brian Robert Allen of U S International Trade
                            Commission on behalf of United States International Trade Commission.(Allen, Brian)
                            (Entered 10/31/2022)
  11/02/2022             59 Confidential Sur-reply to Plaintiffs' Reply in Support of Their First Motion for a
                            Preliminary Injunction (related document(s) 15 ). Filed by Jane Chang Dempsey of U.S.
                            International Trade Commission on behalf of United States International Trade
                            Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Dempsey, Jane)
                            (Entered: 11/02/2022)
  11/02/2022             60 Sur-reply to Plaintiffs' Reply in Support of Their First Motion for a Preliminary
                            Injunction (related document(s) 15 ) Filed by Jane Chang Dempsey of U S International
                            Trade Commission on behalf of United States International Trade Commission.
                            (Attachments # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Dempsey, Jane) (Entered
                            11/02/2022
  11/02/2022             61 Reply to Defendant-Intervenor in Support of Plaintiffs' First Motion for Preliminary
                            Injunction and Response to Defendant-Intervenor's Motion to Vacate Temporary
                            Restraining Order (related document(s) 52 , 51 ). Filed by Richard Preston Ferrin of
                            Faegre Drinker Biddle & Reath, LLP on behalf of All Plaintiffs. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C) (Ferrin, Richard) (Entered: 11/02/2022)
  11/02/2 22             62 Confidential Response to motion to dismiss by Defendant (related document(s) 46 )
                            Replies due by 11/23/2022. Filed by Richard Preston Ferrin of Faegre Drinker Biddle &
                            Reath, LLP on behalf of All Plaintiffs (Ferrin, Richard) (Entered 11/02/2022)
  11/02/2022             63 Public Response to motion to dismiss by Defendant (related document(s) 46 ). Replies
                            due by 11/23/2022. Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath,
                            LLP on behalf of All Plaintiffs.(Ferrin, Richard) (Entered: 11/02/2022)
  11/02/2022             64 Notice of Supplemental Authority filed. . Filed by Daniel Brian Pickard of Buchanan
                            Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers
                            (Attachments: # 1 Exhibit Tab 1, # 2 Exhibit Tab 2, # 3 Exhibit Tab 3, # 4 Exhibit Tab 4,
                            # 5 Exhibit Tab 5)(Pickard, Daniel) (Entered 11/02/2022)
  11/03/2022             65 Revised Form 11 Notice of Appearance for Brian Perryman. Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de Mexico S. de R.L.
                            de C.V., Amsted Rail Company, Inc..(Ferrin, Richard) (Entered: 11/03/2022)
  11/03/2022             66 Form 11 Notice of Appearance for Daniel B. Pickard. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?116952961523817-L_1_0-1                                               11/15
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                              (Pickard, Daniel) (Entered 11/03/2022)
  11/03/2022             67 Form 11 Notice of Appearance for Claire M. Webster. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers.
                            (Pickard, Daniel) (Entered: 11/03/2022)
  11/03/2022             68 Form 11 Notice of Appearance for Amanda L. Wetzel. Filed by Daniel Brian Pickard of
                            Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler Producers
                            (Pickard, Daniel) (Entered: 11/03/2022)
  11/03/2022             69 Form 13 Corporate Disclosure Statement of the Coalition of Freight Coupler Producers.
                            Filed by Daniel Brian Pickard of Buchanan Ingersoll and Rooney PC on behalf of
                            Coalition of Freight Coupler Producers. (Pickard, Daniel) (Entered: 11/03/2022)
  11/03/2 22             70 Reply to Defendant's Intervenor's Notification of Supplemental Authority Filed by
                            Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de
                            Mexico S de R L de C V , Amsted Rail Company, Inc , Strato, Inc , TTX Company
                            (Ferrin, Richard) (Entered: 11/03/2022)
  11/04/2022             71 Paperless Order entered on 11/4/2022; ORDERED that the Hearing Scheduled for
                            November 9, 2022 at 9:00 AM in CIT Courtroom 1 will be a CLOSED hearing. (Goell,
                            Geoffrey) (Entered: 11/04/2022)
  11/07/2 22             72 Form 11 Notice of Appearance Filed by Ryan Mackenzie Proctor of Jones Day on behalf
                            of Wabtec Corp..(Proctor, Ryan) (Entered: 11/07/2022)
  11/07/2022             73 Motion to dismiss case Motion to Dismiss Amended Complaint and Memorandum in
                            Support of Motion to Dismiss. Response to Dispositive Motion due by 12/12/2022. Filed
                            by Brian Robert Allen of U.S. International Trade Commission on behalf of United States
                            International Trade Commission.(Allen, Brian) (Entered: 11/07/2022)
  11/07/2022             74 Motion for extension of time until 11/18/2022 to Consent Motion to Extend Deadline to
                            Respond to Plaintiffs' Second Motion for a Preliminary Injunction (related document(s)
                            47 ). Responses due by 11/28/2022. Filed by Brian Robert Allen of U.S. International
                            Trade Commission on behalf of United States International Trade Commission (Allen,
                            Brian) (Entered: 11/07/2022)
  11/08/2022             75 Order entered on 11/8/2022 granting Consent Motion for extension of time respond to
                            Plaintiffs' Second Motion for a Preliminary Injunction. ORDERED, that the motion is
                            granted and Defendant shall file its Response no laterthan November 18, 2022; and it is
                            further ORDERED, that any motion by Plaintiffs for leave to file a brief in reply to
                            Defendant's Response will be filed by no later than December 2, 2022 (Related Doc # 74
                            ). (Goell, Geoffrey) (Entered: 11/08/2022)
  11/09/2022             76 Confidential Hearing held on November 9, 2022 at 9:00 AM in Courtroom 1. The parties
                            may file a post hearing submission (of no more than 1,000 words) by close of business
                            (5:00 p.m. eastern) on November 10, 2022. (Goell, Geoffrey) (Entered: 11/09/2022)
  11/09/2022             77 Notice of Supplemental Authority filed. . Filed by Richard Preston Ferrin of Faegre
                            Drinker Biddle & Reath, LLP on behalf of All Plaintiffs.(Ferrin, Richard) (Entered:
                            11/09/2022
  11/09/2 22             78 Notice of Supplemental Authority filed Filed by Brian Robert Allen of U S
                            International Trade Commission on behalf of United States International Trade
                            Commission (Allen, Brian) (Entered 11/09/2022)
  11/10/2022             79 Post-Trial Memorandum Post-Hearing Submission. Filed by Richard Preston Ferrin of
                            Faegre Drinker Biddle & Reath, LLP on behalf of All Plaintiffs. (Ferrin, Richard)
                            (Entered: 11/10/2022)
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  11/15/2022             80 Confidential Order entered on 11/15/2022, Confidential Slip opinion: 22-124; The
                            Amended Complaint is dismissed without prejudice to refiling under 28 U S C § 1581(c)
                            (related document(s) 60 , 78 , 63 , 52 , 73 , 43 , 48 , 46 , 59 , 45 , 47 , 41 , 70 , 44 , 64 , 51
                            , 42 ) (Goell, Geoffrey) (Entered 11/15/2022)
  11/15/2022             81 Order entered on 11/15/2022; ORDERED that the Temporary Restraining Order, Oct. 18,
                            2022, ECF No. 28, and Order Extending Temporary Restraining Order, Oct. 27, 2022,
                            ECF No. 54, are vacated. (Goell, Geoffrey) (Entered: 11/15/2022)
  11/15/2022             82 Order entered on 11/15/2022; Judgment Order issued (related document(s) 80 ). (Goell,
                            Geoffrey) (Entered 11/15/2022)
  11/15/2022             83 Letter issued by The Honorable Gary S. Katzmann concerning redactions for public
                            version of Slip Op. 22-124. SEE LETTER. (Goell, Geoffrey) (Entered: 11/15/2022)
  11/15/2 22             84 Response to Court's Request/Order for Bracketing Changes Filed by Daniel Brian
                            Pickard of Buchanan Ingersoll and Rooney PC on behalf of Coalition of Freight Coupler
                            Producers (Pickard, Daniel) (Entered 11/15/2022)
  11/15/2022             85 Response to Court's Request/Order . Filed by Brian Robert Allen of U.S. International
                            Trade Commission on behalf of United States International Trade Commission. (Allen,
                            Brian) (Entered: 11/15/2022)
  11/16/2022             86 Response to Court's Request/Order of November 15, 2022. Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of All Plaintiffs (Ferrin,
                            Richard) (Entered: 11/16/2022)
  11/16/2022             87 Response to Court's Request/Order re Bracketing. Filed by Andrew Thomas Schutz of
                            Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Strato, Inc..
                            (Schutz, Andrew) (Entered: 11/16/2022)
  11/16/2 22             88 Order entered on 11/16/2022, Slip Op 22 124; Public Version issued (related
                            document(s) 80 ). (Goell, Geoffrey) (Entered: 11/16/2022)
  11/18/2022             89 Motion for injunction pending appeal (related document(s) 88 ). Responses due by
                            12/9/2022. Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on
                            behalf of ASF-K de Mexico S. de R.L. de C.V., Amsted Rail Company, Inc., Strato, Inc.,
                            TTX Company. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Ferrin, Richard) (Entered:
                            11/18/2022
  11/29/2 22             90 Order entered on 11/29/2022; Upon consideration of Certain Plaintiffs' Motion for
                            Injunction Pending Appeal ("Motion"), Nov. 18, 2022, ECF No. 89, it is hereby
                            ORDERED that Plaintiffs will answer the following questions in a filing due tomorrow,
                            November 30, 2022. SEE ORDER. ORDERED that Defendants andDefendant-Intervenor
                            shall file their responses to the Motion, if any, by December 6, 2022; and it is further
                            ORDERED that a remote oral argument on the Motion is scheduled for Wednesday,
                            December 7, 2022 at 10 a m , subject to further order of this court (Goell, Geoffrey)
                            (Entered: 11/29/2022)
  11/30/2022             91 Response to Court's Request/Order dated November 29, 2022. Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF-K de Mexico S. de R.L.
                            de C.V., Amsted Rail Company, Inc., Strato, Inc., TTX Company. (Ferrin, Richard)
                            (Entered: 11/30/2022)
  12/01/2022             92 Paperless Order entered on 12/1/2022; The Webex Oral Argument Scheduled for
                            December 7,2022 at 10 00 will be a CLOSED oral argument (Goell, Geoffrey) (Entered
                            12/01/2022)


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                                                                                      Trade (LIVE     02/22/2023
                                                                                                  Database)

  12/06/2022             93 Confidential Response to motion for Injunction Pending Appeal (related document(s) 89
                            ) Filed by Daniel Brian Pickard of Buchanan Ingersoll & Rooney PC on behalf of
                            Coalition of Freight Coupler Producers. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                            Exhibit 3) (Pickard, Daniel) (Entered 12/06/2022)
  12/06/2022             94 Response to motion for Injunction Pending Appeal (related document(s) 89 ). Filed by
                            Daniel Brian Pickard of Buchanan Ingersoll & Rooney PC on behalf of Coalition of
                            Freight Coupler Producers. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                            (Pickard, Daniel) (Entered: 12/06/2022)
  12/06/2022             95 Response to motion for Injunction Pending Appeal (related document(s) 89 ) Filed by
                            Jane Chang Dempsey of U.S. International Trade Commission on behalf of United States
                            International Trade Commission (Attachments # 1 Proposed Order) (Dempsey, Jane)
                            (Entered: 12/06/2022)
  12/07/2022             96 Closed Oral Argument via Webex on the Motion for Injunction Pending Appeal held on
                            December 7, 2022 at 10:00 AM. The parties may file a post argument submission (of no
                            more that 750 words) by close of business on December 8, 2022. (Goell, Geoffrey)
                            (Entered: 12/07/2022)
  12/08/2022             97 Confidential Transcript of Confidential Hearing held on 11/9/2022 filed with court.
                            Pursuant to Administrative Order 08 01 re the redaction of personal data identifiers
                            Notice of Intent to Redact Deadline due 12/15/2022. Redaction Request due 12/29/2022.
                            Redacted Transcript Deadline set for 1/9/2023 Release of Transcript Restriction set for
                            3/8/2023. (Goell, Geoffrey) Modified on 12/8/2022 (Goell, Geoffrey). (Entered:
                            12/08/2022)
  12/08/2022             98 Response to Court's Request/Order for Post-Argument Submissions. Filed by Daniel
                            Brian Pickard of Buchanan Ingersoll & Rooney PC on behalf of Coalition of Freight
                            Coupler Producers. (Pickard, Daniel) (Entered: 12/08/2022)
  12/08/2022             99 Response to Court's Request/Order for post-hearing submission. Filed by Richard Preston
                            Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF K de Mexico S de R L
                            de C.V., Amsted Rail Company, Inc.. (Ferrin, Richard) (Entered: 12/08/2022)
  12/20/2022            100 Order entered on 12/20/2022 Slip opinion: 22-147. ORDERED that Plaintiffs' motion for
                            injunction pending appeal is denied (related document(s) 89 ).(Cheevers, Casey) (Main
                            Document 100 replaced on 12/20/2022) (Swindell, Stephen). (Entered: 12/20/2022)
  12/22/2022            101 Notice of Appeal of Final Judgment of 11/15/22, Opinion and Order or 11/15/22, and
                            Opinion and Order 12/20/22 filed. (related document(s) 80 , 82 , 100 ). Filed by Richard
                            Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of ASF K de Mexico S
                            de R.L. de C.V., Amsted Rail Company, Inc., Strato, Inc., TTX Company.(Ferrin,
                            Richard) (Entered 12/22/2022)
  01/10/2023            102 Appeal of Slip Opinions 22-124 & 22-147 & Judgement docketed on 1/10/2023 by the
                            CAFC as appeal no. 2023-1355 (related document(s) 101 ). (Goell, Geoffrey) (Entered:
                            01/10/2023)



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                      PUBLIC VERSION
                        No. 2023-1355


                            IN THE
        United States Court of Appeals
               FOR THE FEDERAL CIRCUIT
                 _______________________

            AMSTED RAIL COMPANY, INC.,
          ASF-K DE MEXICO S. DE R.L. DE C.V.,
           STRATO, INC., and TTX COMPANY,
                     Plaintiffs-Appellants,
                              and
                   WABTEC CORPORATION,
                           Plaintiff,

                               v.

UNITED STATES INTERNATIONAL TRADE COMMISSION
   and ACTING SECRETARY KATHERINE M. HINER,
                in her official capacity,
                     Defendants-Appellees,
                              and
   COALITION OF FREIGHT COUPLER PRODUCERS,
               Defendant-Intervenor-Appellee.
                 _______________________

           On Appeal from the United States Court
          of International Trade, Case No. 22-00307,
                   Judge Gary S. Katzmann
                  _______________________

DEFENDANT-INTERVENOR-APPELLEE’S RESPONSE BRIEF
                   _______________________
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                         CERTIFICATE OF INTEREST

     Counsel for Defendant-Intervenor-Appellee the Coalition of Freight Coupler
Producers certify the following:

      1.     The full name of every party or amicus represented by me is: the
Coalition of Freight Coupler Producers.

      2.     The names of the real parties in interest represented by me are: the
Coalition of Freight Coupler Producers is made up of two constituent members in
an ad hoc Coalition including McConway & Torley LLC and the United Steel, Paper
and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service
Workers International Union.

      3.    All parent corporations and any publicly held companies that own 10
percent or more of the stock of the real parties represented by me are: McConway &
Torley LLC is a wholly owned subsidiary of Arcosa, Inc, a publicly traded company.

       4.     The names of all law firms and the partners or associates that appeared
for the party or amicus now represented by me in the trial or agency or are expected
to appear in this court are:

Daniel B. Pickard
Amanda L. Wetzel
Claire M. Webster
Buchanan Ingersoll & Rooney PC
1700 K St. N.W., Suite 300
Washington D.C., 20006-3807
(202) 452 7900

      5.    The cases known to me to be pending in this or any other court or
agency that will directly affect or be directly affected by this court’s decision in the
pending appeal are: None.

      6.    Organizational victims in criminal cases and debtors and trustees in
bankruptcy cases are: None.
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      The U.S. Court of International Trade in case no. 22-00307 issued an order on

October 17, 2022 indicating that certain identifying information should be treated as

confidential, and the order appears as docket entry 24.             (Appx2006-2007).

Subsequently, the U.S. Court of International Trade issued a protective order (docket

entry 53) that indicates that the obligations and protections imposed by the protective

order shall continue beyond the conclusion of the case, including any appellate

proceedings, or until the Court orders otherwise.          (Appx.i-v).    Confidential

information in Defendant-Intervenor-Appellee’s response brief has been bracketed

in the confidential version and redacted in the public version. Public disclosure of

this information could cause competitive harm. The material bracketed in the

confidential version and redacted in the public version on pages 1 and 7 includes

personal identifying information covered by the October 17, 2022 order, and the

material on pages 4, 7, 8, 10, 11, 23, 24, 41, 44-47, and 54 relates to the confidential

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                     STATEMENT OF RELATED CASES

      In compliance with Fed. Cir. R. 47.5, no other appeal in or from the same civil

action or proceeding in the lower court was previously before this or any other

appellate court.




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                      STATEMENT OF JURISDICTION

      All parties agree that this Court has appellate jurisdiction under 28 U.S.C. §

1295(a)(5) because this is an appeal of a final decision of the CIT dismissing the

Appellants’ complaint for lack of subject matter jurisdiction in CIT Case No. 22-

00307.

      The Coalition of Freight Coupler Producers (“Defendant-Intervenor-

Appellee” or the “Coalition”) submits, contrary to Appellants’ assertions, that the

CIT did not have subject matter jurisdiction over the case below, Amsted Rail

Company Inc. v. United States International Trade Commission, CIT Case No. 22-

00307. Indeed, the U.S. Court of International Trade (“CIT”) held that it did not

have jurisdiction under 28 U.S.C. § 1581(i) over Appellants’ premature interlocutory

appeal of the International Trade Commission’s (“ITC or Commission”) decision

not to disqualify the Coalition’s Counsel, [                     ] and his law firm

[                                     ] from acting for the Coalition in the Current

Investigations (Nos. 701-TA-682 and 731-TA-1592-1593) that are pending before

the Commission. Defendant-Intervenor-Appellee asks the U.S. Court of Appeals for

the Federal Circuit to affirm the CIT’s jurisdictional determination that Appellants

have not met their burden of proof that jurisdiction under § 1581(c) would be

manifestly inadequate.




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                         STATEMENT OF THE ISSUES

   Defendant-Intervenor-Appellee submits that the Appellants’ statement of the

issues was incomplete and was not appropriately framed for this Court’s

consideration and offers the following alternative statement.

   1. Whether the CIT has subject matter jurisdiction under 28 U.S.C. § 1581(i)

over an interlocutory appeal of the procedural decision of the Commission not to

disqualify an attorney practicing before the Commission when the CIT’s exercise of

jurisdiction would not be manifestly inadequate under 28 U.S.C. § 1581(c) if an

appeal were taken from a final determination of the Commission in an antidumping

investigation?

   2. Whether the CIT erred in dismissing the Appellants’ Amended Complaint

where the Court noted that the verified complaint’s factual allegations were

insufficient to establish subject matter jurisdiction under 28 U.S.C. § 1581(i) and

dismissed the case through applying the rule that interlocutory appeals of decisions

denying attorney disqualification are barred by both binding Supreme Court

authority and a persuasive decision of the U.S. Court of Appeals for the Federal

Circuit?

   3. Whether the CIT erred in dismissing the Appellants’ request for a writ of

mandamus when the Court held that one of the three required elements of mandamus

relief was not established because the Appellants could obtain relief on their attorney


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disqualification claim through an appeal of the Commission’s final determination

under 28 U.S.C. § 1581(c)?

   4. Whether the CIT abused its discretion when it dismissed Appellants’

Amended Complaint when Appellants had already amended their complaint once as

of right and did not seek leave to amend their complaint under CIT Rule of Procedure

15(a)(2)?

                        PRELIMINARY STATEMENT

      This case provides this Court with the opportunity to affirm a correctly

decided opinion of the CIT that dismissed for lack of subject matter jurisdiction

under 28 U.S.C. § 1581(i) an interlocutory appeal from a procedural determination

of the Commission on an attorney disqualification request that was made by the

Appellants during the course of an antidumping and countervailing duty

investigation.


      The Appellants claim that the Attorney had a conflict of interest because, in a

Predecessor Investigation, Freight Rail Coupler Systems and Components from

China (Inv. Nos. 701-TA-670 and 731-TA-1570) the Attorney represented a

Coalition consisting of McConway & Torley LLC and Amsted Rail Company, Inc.

(“ARC”) until ARC withdrew from the Coalition and ended its attorney-client

relationship with the Attorney shortly after the filing of the petitions in the

investigation. The Predecessor Investigation ended with a negative determination.

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When new petitions were filed in the distinct investigation of Certain Freight Rail

Couplers and Parts Thereof from the People’s Republic of China and Mexico (Inv.

Nos. 701-TA-682 and 731-TA-1592-1593) on September 28, 2022, ARC claimed

that the Attorney was acting with a conflict of interest because the Attorney once

represented a Coalition in which ARC was a member in the Predecessor

Investigation. ARC is wrong on this count and there is no conflict of interest for

several reasons, principal among them is that the adverse party in the Current

Investigation is not ARC but is ASF-K de Mexico, S. de R.L. de C.V. (ASF-K).

There cannot be a conflict of interest between the Attorney and ASF-K because ASF-

K was never a client of the Attorney. In addition, ARC signed a [

                                                                  ] to the effect that

it [

                                   ]. (Appx1406).

       ARC nevertheless requested that the Commission disqualify the Attorney and

his Law Firm from acting in the Current Investigations and, at the same time,

pursued relief before the CIT, attempting to establish jurisdiction over several

Administrative Procedure Act Claims against the Commission, including for

arbitrary and capricious refusal to disqualify the Attorney and Law Firm, using the

residual provision of 28 U.S.C. § 1581(i) as the basis of jurisdiction. However, the

28 U.S.C. § 1581(i) residual jurisdictional provision is only available when another


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basis of jurisdiction, such as jurisdiction over appeals of final determinations of the

Commission, is manifestly inadequate. The CIT correctly determined that the

Appellants did not plead facts sufficient to establish that they would experience

irreparable harm and manifest inadequacy of jurisdiction under 28 U.S.C. § 1581(c)

if they waited to appeal a final determination. Indeed, the Appellants asserted broad

claims that the Current Investigations would be tainted by the Attorney’s alleged

conflict. Appellants’ attempt to introduce additional jurisdictional facts on appeal

does not alter this analysis because the additional facts alleged in pages 23 through

26 of Appellants’ principal brief are also insufficient to establish irreparable harm.

As a result, this Court should affirm the CIT’s holding that an appeal of the

Commission’s final determination and all associated procedural decisions would not

be manifestly inadequate if taken under 28 U.S.C. § 1581(c) following a final

determination.

      Equally importantly, this Court should affirm the CIT decision as to a lack of

subject matter jurisdiction as it is consistent with Supreme Court precedent and

persuasive dicta of the U.S. Court of Appeals for the Federal Circuit that denial of

attorney disqualification determinations may not be subject to interlocutory appeal.

      In addition, Appellants attempted to establish the CIT’s jurisdiction over a

writ of mandamus claim. This Court reviews the CIT’s denial of a claim of writ of

mandamus under the abuse of discretion standard. A writ of mandamus is an


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extraordinary remedy and is rarely granted on attorney disqualification

determinations. The CIT did not abuse its discretion in holding that the first of three

required elements to establish a writ of mandamus was not demonstrated because

Appellants would have an adequate avenue to pursue their attorney disqualification

claim under 28 U.S.C. § 1581(c).

      Finally, the CIT did not abuse its discretion by not providing Appellants leave

to amend their complaint a second time. The Appellants amended their complaint

once as a matter of course and did not include adequate facts to allege that

jurisdiction was manifestly inadequate under 28 U.S.C. § 1581(c). Appellants did

not request leave to amend their complaint a second time. It was reasonable for the

CIT to dismiss the Appellants’ Amended Complaint without sua sponte granting

leave to amend.

                           STATEMENT OF THE CASE

      Defendant-Intervenor-Appellee offers a statement of the case to more fully

provide context and address omissions and some inaccuracies in the Appellants’

retelling of the procedural history.


I.    The Predecessor And Current Investigations Before The International
      Trade Commission

      A.     The Predecessor Investigation

      On September 28, 2021, the Coalition of Freight Coupler Producers

(“Coalition”) filed petitions with the U.S. Department of Commerce (“Commerce”)

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and the Commission alleging dumping and subsidization of Freight Rail Coupler

Systems and Components from China (Inv. Nos. 701-TA-670 and 731-TA-1570),

commencing the Predecessor Investigations. (Appx6).

      [                        ] (“the Attorney”) represented the Coalition, an ad hoc

trade association that was created for the purpose of filing trade remedy

investigations on behalf of the industry making freight rail couplers in the United

States. The joint representation of the Coalition members was originally composed

of Amsted Rail Company, Inc. (ARC) and McConway & Torley LLC. Notably,

[



                                     ]. (Appx1501). Indeed, the engagement letter

explicitly stated three items of importance that are not fully set out by the Appellants

in their statement of the case, including [



                                                                                      ];

(2) that should the client [




                                                ]; and (3) as required by the Attorney

and, as specifically negotiated with Amsted’s internal counsel, that as a condition of


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accepting ARC as a client [




         ]. (Appx1403-1406).

      ARC withdrew from the Coalition within days of the filing of the petitions.

On October 6, 2021, the Coalition informed the Commission that ARC had

withdrawn and would be replaced by the United Steel, Paper and Forestry, Rubber,

Manufacturing, Energy, Allied Industrial and Service Workers International Union

(“USW”). (Appx64; Appx1408; Appx1439). On October 14, 2022, ARC’s current

counsel, Faegre Drinker Biddle & Reath LLP entered an appearance at the

Commission on ARC’s behalf.        (Appx65; Appx1276; Appx1442).           Following

ARC’s departure from the Coalition, the Attorney and his former law firm continued

representing the Coalition before the Commission and the Attorney continues to do

so to the present day.

      The Attorney changed firms and joined [

                     ] (the “Law Firm”) before the final determination in the

Predecessor Investigation. (Appx66). On March 1, 2022, the Attorney entered an

appearance on behalf of the Coalition from his new law firm. (Appx66; Appx1417;


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Appx1450).      The Predecessor Investigation proceeded to a final negative

determination by the Commission, which was announced on June 14, 2022. (Appx7;

Appx1419).

      B.     The Current Investigation

      On September 28, 2022, the Coalition, comprised of McConway & Torley

LLC and USW, filed the petitions underlying the investigations on Certain Freight

Rail Couplers and Parts Thereof from the People’s Republic of China and Mexico

(investigation nos. 701-TA-682 and 731-TA-1592-1593). (Appx7; Appx1356).

Appellants’ characterization of the prior investigation as a reprise of the current

investigation is incorrect because the prior investigation included a broader scope

than the current investigation, a different period of investigation, different parties,

and only covered merchandise imported from China rather than merchandise from

China and Mexico. The Commission made an affirmative preliminary determination

of a reasonable indication of material injury on November 10, 2022 and, on

November 14, 2022, notified Commerce. (Appx2047).

      The Commission has not issued a final phase schedule. In addition, no final

determination has been reached by the Commission that could be subject to appeal

under 28 U.S.C. § 1581(c). Should the Commission eventually reach an affirmative

determination in the investigations, the Appellants may decide to appeal that




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determination to the CIT under 28 U.S.C. § 1581(c) and could include the

Commission’s attorney disqualification decision as an issue on appeal.

II.   The Appellants’ Litigation Tactic Of Pursuing An Attorney
      Disqualification Claim Before The Commission Was Rejected By The
      Agency

      ARC and ASF-K have been pursuing a litigation tactic to achieve

disqualification of the Attorney and the Law Firm before the Commission in order

to disrupt the investigations and to weaken the position of the U.S. industry.

      Between October 11 and October 14, 2022, the Appellants separately filed

letters with the Commission seeking disqualification of the Attorney and the Law

Firm from the Current Investigations and [



                   ]. (Appx10; Appx1382; Appx1429). The first versions of the

ARC and ASF-K, Strato, and TTX letters were filed on October 12, 2022 and were

not deemed properly filed by the Commission. (Appx1566-1567). The Appellants

re-filed their requests for disqualification in letters to the Commission of October

14, 2022. (Appx1566-1567; Appx1382; Appx2019).

      The Appellants’ request for disqualification also contained vague allegations

that the Court considered in dismissing the Amended Complaint, including an

allegation that there was a “serious risk that the Current Investigations are tainted.”

(Appx1383). On October 21, 2022 the [


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                                                                                       ].

(Appx55). The Commission also determined that there was insufficient evidence to

warrant institution of an [

                                       ]. (Appx11).

       The additional facts that the Appellants seek to introduce into the record on

appeal, which are indicated in pages 23 through 26 of their principal brief, are not

part of the administrative record that was before the Commission and did not appear

in Appellants’ initial complaint or Amended Complaint in the case below.

(Appx1382-1395; Appx1546-1561; Appx58-62, ¶¶ 94-96). These new allegations

that Defendant-Intervenor-Appellee asserted in CIT case no. 22-00316 and that

Appellants seek to introduce on appeal would not, even if considered on appeal,

establish manifest inadequacy. See section VII(D)(2)(b) below.

III.   The Appellants Also Pursued Their Attorney Disqualification And
       [             ] At The CIT

       At the same time that the Plaintiffs in the case below, which included ARC,

ASF-K, Strato, Wabtec and TTX, pursued their litigation tactic by writing demand

letters for the disqualification of the Attorney and Law Firm and for the [

                                                                              ] they also

pursued relief before the CIT, filing their verified complaint and application for a

temporary restraining order (TRO) on October 14, 2022. The Plaintiffs filed an

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Amended Complaint on October 24, 2022 and a second motion for a preliminary

injunction. (Appx11). The Commission filed its first motion to dismiss on October

24, 2022 and, on November 7, 2022, the Commission filed a second motion to

dismiss for lack of subject matter jurisdiction and failure to state a claim. (Appx12).

Plaintiffs filed a response to the initial motion to dismiss on November 2, 2022.

(Appx12). The Court then held a hearing on the motion for a preliminary injunction

on November 9, 2022. (Appx12).

IV.   The CIT Dismissed The Appellants’ Amended Complaint For Lack Of
      Subject Matter Jurisdiction

      On November 15, 2022, the CIT dismissed the Appellants’ Amended

Complaint holding that the Court did not have jurisdiction under 28 U.S.C. § 1581(i)

because the Appellants did not establish that the Court’s exercise of jurisdiction

pursuant to 28 U.S.C. § 1581(c) would be manifestly inadequate. (Appx32). The

CIT also held that the Appellants did not establish the required conditions for it to

grant a writ of mandamus under 28 U.S.C. § 2643(c)(1). (Appx31).

      The CIT’s decision that jurisdiction under 28 U.S.C. § 1581(c) was not

manifestly inadequate involved four key considerations, which the Appellants do not

fully explain in their statement of the case. First, the Court recalled the holding of

Miller & Co v. the United States, 824 F.2d 961, 963 (Fed. Cir. 1987), which indicates

that “{s}ection 1581(i) jurisdiction may not be invoked when jurisdiction under

another subsection of § 1581 is or could have been available, unless the remedy

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provided under that other subsection would be manifestly inadequate.” (Appx17-

18). Second, the CIT applied Supreme Court precedent and persuasive Federal

Circuit case law indicating that attorney disqualification decisions are not

appropriate for interlocutory appeal. (Appx18-20; Appx28-29) (see Firestone Tire

& Rubber Co. v. Risjord, 449 U.S. 368, 377 (1981) and Shakeproof Indus. Prod.

Div. of Illinois Tool Works Inc. v. United States, 104 F.3d 1309, 1313 (Fed. Cir.

1997)). Third, the CIT distinguished and declined to follow the non-binding CIT

decision in Makita Corp. v. United States, 819 F. Supp. 1099 (Ct. Int’l Trade 1993).

(Appx25-27). Finally, in a portion of the CIT opinion that the Appellants do not

discuss in their statement of the case, the CIT indicated that the legislative history

weighs against using § 1581(i) jurisdiction to interfere with the exercise of agency

power through piecemeal litigation, which includes interlocutory appeal of attorney

disqualification decisions. (Appx29).

      A.     The CIT Held That Interlocutory Review                    of    Attorney
             Disqualification Decisions Is Not Warranted

      The CIT’s analysis through which it determined that jurisdiction under

§ 1581(c) was not manifestly inadequate considered that, under Supreme Court

precedent and persuasive Federal Circuit dicta, interlocutory appeal of decisions

denying attorney disqualification is not allowed under either 28 U.S.C. § 1291 or

under 28 U.S.C. § 1581(i). (Appx18-20; 28-29). The CIT relied on Firestone Tire

& Rubber Co. v. Risjord, 449 U.S. 368, 377-379 (1981), in which the Supreme Court

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stated that “{a}n order refusing to disqualify counsel plainly falls within the large

class of orders that are indeed reviewable on appeal after final judgment, and not

within the much smaller class of those that are not” and held “that a district court’s

order denying a motion to disqualify counsel is not appealable under § 1291 prior to

final judgment in the underlying litigation.”    In addition, the CIT relied on the

persuasive dicta of Shakeproof Indus. Prod. Div. of Illinois Tool Works Inc. v. United

States, in which the Federal Circuit indicated the following:

      We have serious doubts that judicial review of the disqualification issue
      would be manifestly inadequate if it were postponed until Commerce’s
      final decision on the first review of the antidumping order. For that
      reason, we believe there is substantial force to the government’s
      suggestion that Shakeproof’s request for judicial review in this case was
      premature. 104 F.3d 1309, 1313 (Fed. Cir. 1997).

Contrary to the Appellants’ description of the CIT’s opinion, the CIT afforded both

the Firestone and the Shakeproof decisions great weight and declined to extend the

same importance to Makita, the case relied on by Appellants. (Appx30). The CIT

held that a finding of jurisdiction would add an avenue of interlocutory review that

runs counter to Miller & Co., Shakeproof, NEC Corp., the relevant CIT case law,

and the legislative history of § 1581(i). (Appx30).

      B.     The CIT Explained That The Makita Decision Is Not Binding And
             Distinguished It From This Case

      Appellants are correct that the CIT did address the Makita decision, but they

are wrong to insinuate that the Court validated the Appellants’ interpretation of


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Makita in any way. The CIT recalled the facts of the Makita case in which an

attorney had, when working as a paralegal, “a significant and substantial

involvement in a Section 337 case Makita had brought before the ITC in 1988-

1989.” (Appx25). The relevance of the attorney’s involvement had been evaluated

through affidavits and live testimony, and the involvement included access to pricing

comparisons and access to many documents that contained confidential information

about Makita’s competition, distribution practices, operations and sales figures.

(Appx25-26). The CIT considered that “{c}omparatively, the facts that Plaintiffs

offer in the instant case – looking only to the pleaded complaint and filings, as no

additional affidavits or testimony is available – fall far short of establishing

‘sufficient uncertainty’ of attorney misconduct that necessitates relief under

§ 1581(i).” (Appx27). The CIT continued “ . . . Plaintiffs’ allegations of attorney

misconduct in this case . . . are too threadbare to meet the more specific showing that

manifest inadequacy under § 1581(i).” (Appx27). Given the fact that Makita is non-

binding on both the CIT and the Court here, and that it is clearly distinguishable, it

is not surprising that the CIT evaluated the Appellants’ reading of Makita as

overbroad and favored the application of Firestone and Shakeproof in holding that

the CIT did not have subject matter jurisdiction under 28 U.S.C. § 1581(i) to hear

Appellants’ interlocutory appeal of a denial of an attorney disqualification request.

(Appx30). This Court should do the same.


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      C.     The CIT Explained That The Legislative History Of 28 U.S.C.
             § 1581(i) Counsels Against Interlocutory Appeal Of Procedural
             Determinations In Administrative Investigations

      With specific respect to the appealability of administrative decisions made

during a Commission investigation, the CIT recalled that the legislative history

indicates that Congress “intend{ed} that any determination specified in section

516A of the Tariff Act of 1930, or any preliminary administrative action which, in

the course of the proceeding, will be, directly or by implication, incorporated in or

superseded by any such determination, is reviewable exclusively as provided by

section 516A.” (Appx29) (citing H.R. Rep. No. 96-1235, at 48 (1980)). Notably,

19 U.S.C. § 1516a provides for the typical review of Commission determinations

after they are final and does not provide for interlocutory review. The CIT also

emphasized that the legislative history counsels against using “§ 1581(i) jurisdiction

to interfere with the exercise of agency power” and piecemeal review of international

trade proceedings. (citing H.R. Rep. No. 98-725, at 47 (1984) and M S Int'l, Inc. v.

United States, 425 F. Supp. 3d 1332, 1337 (Ct. Int’l Trade 2020)) (Appx29).

      D.     The CIT Also Denied Appellants’ Writ Of Mandamus Claim

      The CIT, noting that the “remedy of mandamus is a drastic one, to be invoked

only in extraordinary circumstances,” held that Plaintiffs had not established the first

of three required conditions for a writ of mandamus because “they could adequately

obtain relief through a potential suit challenging the Commission’s injury


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determination under 28 U.S.C. § 1581(c).” (Appx31-32) (citing Allied Chem. Corp.

v. Daiflon, Inc., 449 U.S. 33, 34 (1980)).

V.    The Appellants’ Motion For Injunction Pending Appeal Before The CIT
      And Eventual Appeal Of The Dismissal Of The Amended Complaint

      Following the CIT’s dismissal of the Appellants’ Amended Complaint, on

November 18, 2022, Appellants filed a motion for injunction pending appeal in the

case below. (Appx39).

      On December 20, 2022, the CIT denied the Plaintiffs’ request for an injunction

pending appeal. (Appx37-38). In the Appellants’ telling of the procedural history,

they fail to highlight two key elements of the CIT’s denial of their injunction pending

appeal. The CIT found that the Appellants did not have a likelihood of success on

the merits of their claim to establish 28 U.S.C. § 1581(i) jurisdiction, explicitly

rejecting Appellants’ theory that a substantial relationship between the Predecessor

Investigation and the Current Investigation would satisfy their burden of establishing

the CIT’s jurisdiction under 28 U.S.C. § 1581(i). (Appx44). The CIT also repeated

its finding that Appellants’ reliance on Makita is misplaced, recalling that “{t}he

Makita court did not, and never purported to, undertake a jurisdictional analysis, let

alone use the ‘substantial relationship’ standard to somehow lessen the plaintiffs’

burden of establishing § 1581(i) jurisdiction.” (Appx45).

      The Appellants did not file their notice of appeal until December 22, 2022,

which was 37 days after the CIT dismissed their Amended Complaint. (ECF-34-1,

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p. 1). On January 13, 2022, the Appellants filed their principal brief on appeal and

their emergency motion to expedite. (ECF-27-1; ECF-26). On January 23, 2023,

this Court denied the motion to expedite. (ECF-42, p. 2).

                          SUMMARY OF ARGUMENT

      The CIT’s holding that it did not have subject matter jurisdiction under 28

U.S.C. § 1581(i) over Appellants’ interlocutory appeal of the Commission’s denial

of their attorney disqualification claim, and the CIT’s denial of Appellants’ claim

for a writ of mandamus under 28 U.S.C. § 2643(c)(1) should be affirmed.

      The U.S. Court of Appeals for the Federal Circuit undertakes a de novo review

of the CIT’s dismissal of Appellants’ claims for lack of subject matter jurisdiction

but may accord deference to the CIT’s informed analysis as a starting point. JCM,

Ltd. v. United States, 210 F.3d 1357, 1359 (Fed. Cir. 2000); Indus. Chems., Inc. v.

United States, 941 F.3d 1368, 1371 (Fed. Cir. 2019). The CIT’s decision denying

Appellants’ writ of mandamus claim, on the other hand, is reviewed for abuse of

discretion. Apollo v. Shinseki, No. 2012-7090, 2013 U.S. App. Lexis 319, *2 (Fed.

Cir. Jan. 03, 2013); Neville v. Lipnic, 778 F. App’x 280, 284 (5th Cir. 2019).

      The CIT recognized that the legislative history supports a finding that

jurisdiction under 28 U.S.C. § 1581(i) is not intended to encompass interlocutory

appeals of attorney disqualification decisions of the Commission, which are

subsidiary determinations made in the course of an antidumping investigation.


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(Appx29). See: H.R. Rep. No. 96-1235 at 48 (1980) (legislative history of 28 U.S.C.

§ 1581(i)); see also H.R. Rep. 98-725, at 47 (1984). This determination should be

affirmed.

      Supreme Court precedent confirms that decisions denying attorney

disqualification should not be subject to interlocutory appeal, and the rationale for

such a holding is equally applicable to a district court or an agency’s decision. This

Court should accordingly follow this established precedent. (Appx18-19; Appx27-

28). Specifically, in Firestone Tire & Rubber Co. v. Risjord, the Supreme Court

held that review of decisions denying attorney disqualification “plainly falls within

the large class of orders that are indeed reviewable on appeal after final judgment,

and not within the much smaller class of those that are not.” 449 U.S. 368, 377

(1981). See also: Richardson-Merrell, Inc. v. Koller, 472 U.S. 424, 440-41 (1985).

Similarly, in Shakeproof Indus. Prod. Div. of Illinois Tool Works Inc. v. United

States, the Federal Circuit indicated in persuasive dicta that it had serious doubts that

an agency’s decision on an attorney disqualification claim could be subject to

interlocutory appeal under 28 U.S.C. § 1581(i) before a final determination. 104

F.3d 1309, 1310 (Fed. Cir. 1997) (Appx18-19).

      In order to establish jurisdiction over an interlocutory appeal of a Commission

decision prior to a final determination under 28 U.S.C. § 1581(i), the party seeking

to establish such jurisdiction (here the Appellants) bears the burden of proof and


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must prove that jurisdiction under 28 U.S.C. § 1581(c) would be manifestly

inadequate. Miller & Co. v. United States, 824 F.2d 961, 963 (Fed. Cir. 1987). By

requiring Appellants to satisfy that burden, the CIT did not create an unworkable

jurisdictional standard; instead, it simply applied the law. The Appellants, in their

attorney disqualification demand letter to the Commission and, in their initial and

amended verified complaints before the CIT in case no. 22-00307, made bald and

very general assertions of unspecific harm that they might face if the Commission’s

investigation were allowed to be “tainted” by their alleged conflict of interest

concerns. (Appx1382-1395).

      Makita Corp. v. United States, the non-binding case that Appellants relied

heavily on in their briefing before the CIT and now again on appeal, is

distinguishable on its facts and did not involve an analysis of whether 28 U.S.C.

§ 1581(c) jurisdiction was manifestly inadequate because jurisdiction was presumed

under 28 U.S.C. § 1581(i). 819 F. Supp. 1099 (Ct. Int’l Trade 1993). The CIT held,

in its opinion of November 15, 2022, that Makita involved evidence and specific

allegations of irreparable harm as a result of an attorney conflict while the facts

alleged by the Appellants in their Amended Complaint did not “meet the more

specific showing that manifest inadequacy under § 1581(i).” (Appx26-27).

      Similar to the facts at issue in Firestone, Appellants, in their Amended

Complaint in the case below and now on appeal, have failed “to supply a single


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concrete example of the indelible stamp or taint of which it warns.” See Firestone

Tire & Rubber Co. v. Risjord, 449 U.S. 368, 376 (1981). The CIT thus differentiated

between the substance of an attorney disqualification claim in Makita where

jurisdiction was presumed and the “more specific showing” that is required in this

case to determine whether jurisdiction under 28 U.S.C. § 1581(c) would be

manifestly inadequate. (Appx27). Indeed, while Makita required a showing of

specific irreparable harm, Appellants here have made generalized allegations similar

to those that were rejected in Firestone. Id. at 376. As the Supreme Court made

clear, the applicable standard is that the ruling must be considered “effectively

unreviewable” absent immediate appeal where “denial of immediate review would

render impossible any review whatsoever.” Id. (citing United States v. Ryan, 402

U.S. 530, 533 (1971)). Here, as in Firestone, Appellants have “made no showing

that its opportunity for meaningful review will perish unless immediate appeal is

permitted.” Id. at 377-378. To the extent that the rationale of Makita is inconsistent

with Firestone and, taking into account concerns regarding unjustified waste of

scarce judicial resources, Supreme Court precedent must control.

      In addition, in an attempt to establish the manifest inadequacy of 28 U.S.C.

§ 1581(c), the Appellants incorrectly argue that, if two investigations are

substantially related, and an attorney acts in a second investigation against a former




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client1, then irreparable harm is established such that jurisdiction must vest in 28

U.S.C. § 1581(i). (ECF-31, Appellants’ Principal Brief, p. 45-46). There is no such

judicially recognized “substantially related” jurisdictional test. Even assuming,

arguendo, that there were such a test, the Predecessor Investigation and the Current

Investigation are not substantially related. See GEO Specialty Chemical, Inc. v.

Husisian, 951 F. Supp. 2d 32, 43 (D.D.C. 2013). Furthermore, still assuming

arguendo that the Appellants’ substantial relationship theory was valid, even if the

Predecessor Investigation and the Current Investigation were substantially related,

that would not, in and of itself, require a finding of the existence of a former client,

a conflict of interest, or irreparable harm.

      The incorrectness of Appellants’ newly created “substantially related” test,

which is held out for the purpose of proving irreparable harm, is demonstrated by

the fact that it assumes findings on the merits that are false. For example, Appellants

appear to allege that demonstrating “substantially related” matters confirms the

presence of a conflict. However, in the current matter, there is not even a conflict

with a former client.      The Attorney represented ARC and not ASF-K in the

Predecessor Investigation and, in the Current Investigation, it is ASF-K, the Mexican




1
 Defendant-Intervenor-Appellee does not concede that the Attorney is acting against
a former client in the Current Investigation because the Attorney never represented
ASF-K.

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producer, that is the adverse party. (Appx1501; Appx1403). As ASF-K was never

a former client, by definition there can be no former client conflict with the company.

      In addition, the Appellants’ jurisdictional test fails to account for the fact that

the engagement agreement contained an [




                                  ]. (Appx1406). With respect to the [

                ], such [             ] are presumptively valid. (Appx2023-2032, D.C.

Bar Ethics Opinion 309).

      As another example, Appellants’ theory that just proving “substantially

related” matters is conclusive proof of irreparable harm fails to account for well

established ethics principles connected with the fact that the Attorney and the

Coalition relied in good faith on [                                  ]. D.C. Bar Ethics

Opinion 317 indicates that, if a client’s [

          ] has been relied upon by another client or the lawyer, the client’s

subsequent change of heart [                           ] will not restore those involved

to the status quo ante. (Appx1535, D.C. Bar Ethics Opinion 317). Accordingly,

[                                                                                  ] the

lawyer ordinarily should continue representing the other client. (Appx1535, D.C.


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Bar Ethics Opinion 317). In support of its position, D.C. Bar Ethics Opinion 317

cited a leading decision of the Ninth Circuit, which expressly states that revocation

of consent does not preclude continuing representation of the other client where the

law firm and other client [                                 ]. See Unified Sewerage

Agency v. Jelco, Inc., 646 F.2d 1339, 1346 n.6 (9th Cir. 1981); accord Fisons Corp.

v. Atochem N. Am., Inc., 1990 WL 180551, *6 n.6 (S.D.N.Y. 1990).

      As just one more example of the flaw in Appellants’ apparent theory of a

rebuttable presumption of irreparable harm is the fact that it does not account for the

nature of the joint representation at issue. Because ARC and McConway & Torley

LLC accepted to participate in a joint representation, confidentiality was waived as

between these co-clients and, consequently, no conflict can arise as a result of the

use by one Coalition member of such information. (Appx2045-2046, Restatement

(Third) of the Law Governing Lawyers, § 75).

      Perhaps most fatal to their theory of “substantially related” jurisdictional

analysis, and as more fully explained in section VII(D)(2)(d)(iii), is the fact that

existing precedent confirms that the Current Investigation and the Predecessor

Investigation are not actually substantially related. See GEO Specialty Chemical,

Inc. v. Husisian, 951 F. Supp. 2d 32, 43 (D.D.C. 2013).

      Furthermore, Appellants’ argument that they could not obtain a remedy under

28 U.S.C. § 1581(c) if they did appeal an affirmative final determination of the


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Commission (including a challenge to the Commission’s attorney disqualification

decision), is also false – the CIT has all the necessary powers in law and equity to

fashion a remedy for Appellants in that scenario.

      The CIT, in dismissing Appellants’ writ of mandamus claim, did not abuse its

discretion. There are three required elements to establish a right to relief under a

writ of mandamus, and the CIT correctly held that the first element, that Appellants

could not receive adequate relief through another avenue of recourse, was not

established because of the availability of CIT jurisdiction under 28 U.S.C. § 1581(c).

      The CIT did not abuse its discretion when it did not on its own motion provide

Appellants with another opportunity to amend the complaint; Appellants could have

sought timely leave to make a second amendment to their complaint, especially after

they reviewed the Commission’s second motion to dismiss but did not do so. And

it is unreasonable to require the CIT to grant, sua sponte, leave to amend before

dismissing on jurisdictional grounds.

       Finally, this Court should also deny Appellants’ attempt to plead new

jurisdictional facts that are outlined in pages 23 through 26 of their principal brief

on appeal.   The new facts alleged by the Appellants were never asserted by

Appellants before the Commission or the CIT, even though the Appellants had

knowledge of the alleged facts.      In addition, these new facts do not modify

incorrectly alleged jurisdictional facts – rather, they inflate and expound the facts


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previously alleged, which is not permitted by 28 U.S.C. § 1653. Consequently, this

Court should not allow these new facts to be introduced into the record on appeal.

                                   ARGUMENT

VI.   Standard Of Review

      Defendant-Intervenor-Appellee provides additional authority on the

applicable standard of review. All parties agree that this Court reviews the grant or

denial of a motion to dismiss for lack of jurisdiction on a de novo standard of review.

JCM, Ltd. v. United States, 210 F.3d 1357, 1359 (Fed. Cir. 2000).

      Appellants did not recall that the Federal Circuit, when applying a de novo

standard of review of legal issues decided by the CIT, often assigns great weight to

the CIT’s holding, using the CIT’s holding as a starting point. Indus. Chems., Inc.

v. United States, 941 F.3d 1368, 1371 (Fed. Cir. 2019) (“We review the CIT’s

jurisdictional determinations de novo. . . . we give great weight to the informed

opinion of the CIT and it is nearly always the starting point of our analysis.”).

      A motion to dismiss for lack of subject matter jurisdiction is reviewed under

a virtually identical standard of review that is used to evaluate USCIT Rule 12(b)(6)

motions. See ARP Materials, Inc. v. United States, 520 F. Supp. 3d 1341, 1354-55

(Ct. Int’l Trade 2021); Zhouquin Zhu v. Immigration & Naturalization Servs., 300

F. Supp. 2d 77, 79 (D.D.C. 2004); Caesar v. United States, 258 F. Supp. 2d 1, 2

(D.D.C. 2003). However, the Court may consider material outside the pleadings for


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purposes of resolving jurisdictional issues. ARP Materials, Inc., 520 F. Supp. 3d at

1354-55 (motions to dismiss under USCIT Rule 12(b)(1) may attack the pleading or

the factual basis for the Court’s jurisdiction; in factual challenges, “the allegations

in the complaint are not controlling and only uncontroverted factual allegations are

accepted as true for purposes of the motion,” and the court may consider evidence

outside the pleadings). See also Caesar, 258 F. Supp. 2d at 2; Kelly v. FBI, 67 F.

Supp. 3d 240, 255 (D.D.C. 2014). As long as the Court considers matters outside

the pleadings solely with respect to the issues raised pursuant to Rule 12(b)(1) and

relating to lack of subject matter jurisdiction, a motion to dismiss is not converted to

one for summary judgment. Caesar, 258 F. Supp. 2d at 2. In the case below,

contrary to Appellants’ assertions, the Appellees challenge not only the sufficiency

of the pleadings but also the factual basis of the pleadings such that the allegations

in the Appellants’ complaint should not be viewed as controlling.

      The Appellants indicated that this Court should review the CIT’s decision to

dismiss a complaint without leave to amend on an abuse of discretion standard of

review.    (ECF-31, Appellants’ Principal Brief, 59).          The Federal Circuit’s

application of the abuse of discretion standard of review is highly deferential. See

Athey v. United States, 2021 WL 4282593, at *5 (Fed. Cir. Sept. 21, 2021) (“{w}e

decline Plaintiff’s request to reweigh the trial court’s determination based on its view

of the entire record, a determination that is reviewed with a significant amount of


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deference under the abuse of discretion standard.”); Bayer CropScience AG v. Dow

Agrosciences LLC, 851 F.3d 1302, 1306 (Fed. Cir. 2017) (“stating ‘deference {to

the trial court} . . . is the hallmark of abuse-of-discretion review.’”) (internal citations

omitted).

       This Court also reviews a district court’s denial of a writ of mandamus under

the abuse of discretion standard of review. Apollo v. Shinseki, No. 2012-7090, 2013

U.S. App. Lexis 319, *2 (Fed. Cir. Jan. 03, 2013); Neville v. Lipnic, 778 F. App’x

280, 284 (5th Cir. 2019).

VII. The CIT Does Not Have Subject Matter Jurisdiction Over Appellants’
     Attorney Disqualification Claims Under 28 U.S.C. § 1581(i)

       A.     The Legislative History Associated With 28 U.S.C. § 1581(i) And
              19 U.S.C. § 1516a Indicates That The CIT Does Not Have Subject
              Matter Jurisdiction under § 1581(i)

       Appellants attempted to establish jurisdiction under 28 U.S.C. § 1581(i). The

CIT’s residual jurisdiction under 28 U.S.C. § 1581(i) may not be invoked unless 28

U.S.C. § 1581(c) jurisdiction is manifestly inadequate. Fujitsu Gen. Am., Inc. v.

United States, 283 F.3d 1364, 1371 (Fed. Cir. 2002); Juancheng Kangtai Chem. Co.

v. United States, 932 F.3d 1321, 1327 (Fed. Cir. 2019).

       Congress did not contemplate 28 U.S.C. § 1581(i) to be used to establish the

CIT’s jurisdiction over appeals of attorney disqualification claims, which constitute

procedural matters that may arise during the Commission’s antidumping and

countervailing duty investigations and can be considered by the CIT in conjunction

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with the Commission’s final determination under 28 U.S.C. § 1581(c). Specifically,

the legislative history makes clear that 19 U.S.C. § 1516a “{e}liminates all

interlocutory judicial reviews by the U.S. Court of International Trade during the

course of countervailing duty and antidumping investigations. All challenges to

agency determinations would be combined and reviewable by the court after final

agency action.” H.R. Rep. No. 98-725, p. 9 (1984).

      The CIT, in its November 15, 2022, opinion, noted that Congress “intend{ed}

that any determination specified in section 516A of the Tariff Act of 1930, or any

preliminary administrative action which, in the course of the proceeding, will be,

directly or by implication, incorporated in or superseded by any such determination,

is reviewable exclusively as provided in Section 516A.” (Appx29) (citing H.R. Rep.

No. 96-1235, at 48 (1980)). The CIT also indicated that the legislative history states

that “{t}he purpose of eliminating interlocutory judicial review is to eliminate costly

and time-consuming legal action where the issue can be resolved just as equitably at

the conclusion of administrative proceedings.”). (Appx29) (citing H.R. Rep. No.

98-725, at 47 (1984)).

      The CIT and the Federal Circuit have assigned importance to the legislative

history and the clear Congressional intent to avoid piecemeal litigation that would

result from allowing appeals under the residual jurisdictional provision of subsidiary

procedural matters prior to a final determination of the Commission or Commerce.


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In Koyo Seiko Co. v. United States, 715 F. Supp. 1097, 1100 (Ct. Int’l Trade 1989),

the CIT acknowledged that:

      While Congress contemplated that there would be some civil actions
      relating to an antidumping duty proceeding which could be heard
      pursuant to 28 U.S.C. § 1581(i), it intended that this section should not
      be used to permit the appeal of a procedural determination, but rather,
      that all procedural considerations should be decided by this court when
      the final agency determination is made.

See also M S Int’l, Inc. v. United States, 425 F. Supp. 3d 1332, 1336 (Ct. Int’l Trade

2020) (indicating that “{t}he legislative history to 1581(i), the case law, and the

Administrative Procedure Act -all- discourage piecemeal review of Commerce

Department international trade proceedings. They are problematic for any plaintiff

who is challenging preliminary administrative actions . . . that will be incorporated

in or superseded by the final determination.”); Tianjin Magnesium Int’l Co., Ltd. v.

United States, 533 F. Supp. 2d 1327, 1343 (Ct. Int’l Trade 2008) (finding that

jurisdiction under § 1581(i) was improper because it would be inappropriate for the

court to interfere with ongoing administrative proceedings until Commerce issued a

final determination and recalling that the legislative history to 28 U.S.C. § 1581(i)

indicates that “any preliminary administrative action, which, in the course of {a}

proceeding, will be, directly or by implication, incorporated in or superseded by any

such {final agency} determination is reviewable exclusively as provided in 19

U.S.C. § 1516a.”). The Federal Circuit has also indicated that “{t}o allow a party to

elect to proceed under section 1581(i), without having first availed himself of the

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remedy provided by section 1581(c), would undermine the integrity of the clear path

Congress intended a claimant to follow.” JCM, Ltd. v. United States, 210 F.3d 1357,

1359 (Fed. Cir. 2000).

      Appellants’ arguments to the contrary are based on their overly broad

interpretation of what type of matters are considered under 28 U.S.C. § 1581(i).

(ECF-31, Appellants’ Principal Brief, p. 42). As this Court is well aware, 28 U.S.C.

§ 1581(i) is a limited residual jurisdiction provision to hear “civil actions against the

United States concerning importation revenues, tariffs and duties, embargoes,”

under subparagraphs (A) through (C) of 28 U.S.C. § 1581(i), and “administration

and enforcement of matters involving section 515 of the Tariff Act” related to the

collection of customs duties as enumerated in subsections (a)-(h) of 28 U.S.C.

§ 1581. See Hartford Fire Ins. Co. v. United States, 544 F.3d 1289, 1291 (Fed. Cir.

2008). Appellants cite no support for their assertion that a decision denying attorney

disqualification by the Commission is related to “administration and enforcement”

under 28 U.S.C. § 1581(i)(1)(D) rather than being a procedural matter that must be

appealed as a subsidiary finding of a Commission final determination pursuant to 28

U.S.C. § 1581(c).

      The legislative history discussed herein and relevant case law from the

Supreme Court and the Federal Circuit support the position that the Commission’s

procedural decisions on attorney disqualification claims made during the pendency


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of an antidumping and countervailing duty investigation fall into the category of

interlocutory procedural decisions that are not reviewable until final agency action

by the Commission, at which time they are reviewable together with the final

determination of the Commission. See infra section VII(B)-(C). Firestone Tire &

Rubber Co. v. Risjord, 449 U.S. 368, 377 (1981) and Shakeproof Indus. Prod. Div.

of Illinois Tool Works Inc. v. United States, 104 F.3d 1309, 1313 (Fed. Cir. 1997).

      Indeed, if a plaintiff can avail itself of 28 U.S.C. § 1581(c) in the future, the

Court will not allow a party to invoke 28 U.S.C. § 1581(i) to prematurely resolve its

dispute. See Hitachi Home Elecs. (Am.), Inc. v. United States, 704 F.Supp.2d 1315,

1320-21 (2010), aff'd, 661 F.3d 1343 (Fed. Cir. 2011) (indicating that jurisdiction

under 28 U.S.C. § 1581(i) should not be used to prematurely resolve an import

dispute when jurisdiction would later be available under 28 U.S.C. § 1581(a));

Norman G. Jensen, Inc. v. United States, 687 F.3d 1325, 1330 (Fed. Cir. 2012).

      Consistent with the statute and Congressional intent, jurisdiction will be

available under 28 U.S.C. § 1581(c) upon completion of the Commission’s

investigation and its final determination and, accordingly, jurisdiction under

§ 1581(i) is not available in this matter.




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      B.     The CIT Correctly Applied U.S. Supreme Court Precedent When
             It Held That The CIT Does Not Have Subject Matter Jurisdiction
             Under § 1581(i)

      In this case, the Federal Circuit should follow Firestone Tire & Rubber Co. v.

Risjord, 449 U.S. 368, 377 (1981) and hold, like the CIT did in the case below, that

the Commission’s decision on Plaintiffs’ attorney disqualification claims were not

subject to interlocutory appeal under 28 U.S.C. § 1581(i). (Appx27-28).

      In the CIT’s November 15, 2022 opinion, the CIT applied the U.S. Supreme

Court’s ruling in Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 377 (1981)

when it decided that the Appellants could not bring an interlocutory appeal of the

Commission’s decision denying attorney disqualification.           (Appx27-29).     In

Firestone, the Supreme Court held that review of attorney disqualification decisions

of U.S. district courts “plainly falls within the large class of orders that are indeed

reviewable on appeal after final judgment, and not within the much smaller class of

those that are not.” 449 U.S. 368, 377 (1981). Firestone was followed by and

affirmed by the Supreme Court in Richardson-Merrell, Inc. v. Koller, 472 U.S. 424,

440-41 (1985).

      The Firestone case applied 28 U.S.C. § 1291, which is a different

jurisdictional statute than 28 U.S.C. § 1581(c) that authorizes appeals from the

Commission’s final determinations, however the rational that supports the rule

against interlocutory appeals of attorney disqualification decisions under both


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statutes is the same. The core reasoning in Firestone applies in this case: waiting

until after final judgment to appeal an attorney disqualification decision is likely to

assist in review because it would allow the Court to evaluate the impact of the

disqualification motion “on the underlying litigation.” Firestone, 449 U.S. at 377.

In addition, the rule against interlocutory appeals also serves the important purpose

of promoting efficient judicial administration. Id. at 374 (citing Eisen v. Carlisle &

Jacquelin, 417 U. S. 156, 170 (1974)).

      C.     The CIT Correctly Applied A Persuasive Federal Circuit Case
             That Counsels Against Interlocutory Appeal Of Agency Decisions
             On Attorney Disqualification

      This case is not a case of first impression in the Federal Circuit on the issue

of whether attorney disqualification decisions of an agency can be subject to

interlocutory appeal under 28 U.S.C. § 1581(i) jurisdiction. The CIT, in the case

below, not only followed Firestone but also followed persuasive dicta from the

Federal Circuit in Shakeproof Indus. Prod. Div. of Illinois Tool Works Inc. v. United

States, 104 F.3d 1309, 1310 (Fed. Cir. 1997), which is factually similar to this case

and indicates that an agency’s decision on an attorney disqualification claim may

not be subject to interlocutory appeal under 28 U.S.C. § 1581(i) before a final

determination. (Appx18-19).

      Shakeproof counsels against interlocutory appeals of attorney disqualification

claims under 28 U.S.C. § 1581(i). With regard to the availability of jurisdiction to


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challenge an attorney disqualification decision of an agency under 28 U.S.C.

§ 1581(i), the Federal Circuit indicated:

      We have serious doubts that judicial review of the disqualification issue
      would be manifestly inadequate if it were postponed until Commerce’s
      final decision on the first review of the antidumping order. For that
      reason, we believe there is substantial force to the government’s
      suggestion that Shakeproof’s request for judicial review in this case was
      premature. Shakeproof, 104 F.3d at 1313.

The Federal Circuit’s dicta in Shakeproof is fully consistent with Firestone. The

CIT has all the necessary power in law and equity to provide a remedy, if

appropriate, under 28 U.S.C. § 1581(c) following the Commission’s final

determination.

      D.     Jurisdiction Under 28 U.S.C. § 1581(c) Is Not Manifestly
             Inadequate And Therefore CIT Jurisdiction Over Appellants’
             Attorney Disqualification Claim Cannot Be Established Under 28
             U.S.C. § 1581(i)

             1.    28 U.S.C. § 1581(i) Provides for Residual Jurisdictional Of
                   The CIT That Can Only Be Invoked When The Remedy
                   Provided Under § 1581(c) Is Manifestly Inadequate

      The CIT’s subject matter jurisdiction pursuant to 28 U.S.C. § 1581(i) is a

residual jurisdictional provision that “may not be invoked when jurisdiction under

another subsection of § 1581 is or could have been available, unless the remedy

provided under that other subsection would be manifestly inadequate.” Miller & Co.

v. United States, 824 F.2d 961, 963 (Fed. Cir. 1987); Nippon Steel Corp. v. United

States, 219 F.3d 1348, 1351 (Fed. Cir. 2000) (stating that jurisdiction under 28



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U.S.C. § 1581(i) may only be invoked when review would never be available under

the other subsections of 28 U.S.C. § 1581); Juancheng Kangtai Chem. Co. v. United

States, 932 F.3d 1321, 1327 (Fed. Cir. 2019); Am., Inc. v. United States, 283 F.3d

1364, 1371 (Fed. Cir. 2002). Indeed, the statute makes clear that 28 U.S.C. § 1581(i)

“shall not confer jurisdiction over an antidumping or countervailing duty

determination which is reviewable by . . . the Court of International Trade under

section 516A(a) of the Tariff Act of 1930 (19 U.S.C. 1516a(a)).”               28 U.S.C.

§ 1581(i)(2).

        Two considerations when assessing jurisdiction under 28 U.S.C. § 1581(i) are

(1) whether jurisdiction under a subsection other than § 1581 is, or will, be available;

and (2) if so, whether the remedy provided under that subsection is “manifestly

inadequate.” Wanxiang Am. Corp. v. United States, 12 F.4th 1369, 1373 (Fed. Cir.

2021). If a remedy is an “exercise in futility” or “incapable of producing any result,”

it is considered manifestly inadequate. Juancheng Kangtai Chem. Co., 932 F.3d at

1327.

        Appellants, as the party invoking this Court’s jurisdiction, have “the burden

of establishing that jurisdiction,” and bear the burden under 28 U.S.C. § 1581(i)(1)

to show that remedies under other subsections of § 1581 are manifestly inadequate.

Wanxiang Am. Corp. v. United States, 12 F.4th 1369, 1373 (Fed. Cir. 2021);

Sunpreme Inc. v. United States, 892 F.3d 1186, 1191 (Fed. Cir. 2018).


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      Appellants appear to anchor their jurisdiction claim in 28 U.S.C.

§ 1581(i)(1)(D) which confers residual jurisdiction over “administration and

enforcement” with respect to “revenue from imports or tonnage,” “tariffs, duties,

fees or other taxes on the importation of merchandise for reasons other than the

protection of the public health or safety,” “embargos or other quantitative restrictions

on the importation of merchandise for reasons other than the protection of health and

safety” and subsections (a)-(h) of 28 U.S.C. § 1581. Appellants appear to be

suggesting that their claim is connected with the administration and enforcement of

a final Commission determination.        However, jurisdiction over a Commission

determination, including subsidiary findings, fall squarely under 28 U.S.C.

§ 1581(c), which precludes jurisdiction under § 1581(i). Indeed, and as indicated

above, 28 U.S.C. § 1581(i)(2), makes clear that 28 U.S.C. § 1581(i) “shall not confer

jurisdiction over an antidumping or countervailing duty determination which is

reviewable by . . . the Court of International Trade under section 516A(a) of the

Tariff Act of 1930 (19 U.S.C. 1516a(a)).” Accordingly, Appellants’ attempt to

characterize their claim as an administration or enforcement issue connected with a

final Commission determination must fail.




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             2.    Appellants Did Not Establish Irreparable Harm And
                   Therefore Jurisdiction Under 28 U.S.C. § 1581(c) Would Not
                   Be Manifestly Inadequate

      Appellants have failed to establish that they would experience irreparable

harm by waiting to appeal the Commission’s final determination under 28 U.S.C.

§ 1581(c).    The factual allegations that Appellants made in their Amended

Complaint are vague and, even if the new factual allegations that are set out in pages

23 through 26 of Appellants’ principal brief are considered, Appellants still do not

meet their burden to establish irreparable harm such that jurisdiction under 28 U.S.C.

§ 1581(c) would be manifestly inadequate.

                   a.      Appellants Did Not Make Allegations In Their Initial
                           Complaint And Amended Complaint That Indicate
                           Irreparable Harm

      Appellants did not adequately allege irreparable harm such that jurisdiction

under 28 U.S.C. § 1581(c) would be manifestly inadequate. The CIT observed that

the type of harm alleged by Appellants was “exactly the kind of harm that the

Firestone Court found insufficient to warrant interlocutory review” of an attorney

disqualification decision.    (Appx28).     The CIT determined that “Plaintiffs’

allegations of attorney misconduct in this case . . . are too threadbare to meet the

more specific showing that manifest inadequacy under § 1581(i).” (Appx27). This

Court should affirm the CIT’s holding.




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      The factual allegations in Appellants’ Amended Complaint are no more than

bald assertions that the Attorney had information about the Appellants’ unspecified

legal strategy for prosecuting an FRC-related investigation against China or

otherwise received non-specific confidential information regarding ARC. (Appx65).

In addition, Appellants allege that the Attorney could use the confidences that he

retains to “shape its prosecution of the Current Investigations, including guiding

what lines of attack to pursue and what lines to abandon.” (Appx77). Finally,

Appellants allege that “ASF-K, Strato, Wabtec, and TTX share in this immediate

irreparable harm to the extent the Firm’s exploitation of ARC’s confidential

information can also be used against ASF-K, Strato, Wabetc, and TTX in the current

investigations.” (Appx77). Appellants’ allegations mirror those in Firestone – they

fail to “supply a single concrete example of the indelible stamp or taint of which it

warns” but rather only allege some general concern regarding shaping arguments as

suggested in Firestone.2 Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 376

(1981). The Supreme Court made clear however that the law requires “much more

before a ruling may be considered ‘effectively unreviewable’ absent immediate

appeal.” Id. at 376.




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   An allegation of specific irreparable harm made by the importers of Chinese
products (e.g., Strato and Wabtec) arising from information about the Mexican
producer is essentially absent.

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      While Appellants assert that some form of unfair advantage could ensue, their

claims are non-specific, and they utterly fail to allege why the CIT could not fashion

a remedy under 28 U.S.C. § 1581(c) following a final determination by the

Commission. Relief, if warranted, will be “available” at the conclusion of the

investigation and so 28 U.S.C. § 1581(c) is not manifestly inadequate.

                    b.       The Factual Allegations That Plaintiffs Seek To Add
                             To The Record On Appeal Also Do Not Establish
                             Irreparable Harm

      Appellants attempt to bring into the jurisdictional analysis the additional

factual allegations that are indicated in pages 23 through 26 of the Appellants’

principal brief. Defendant-Intervenor-Appellee contests the use of facts that were

not part of the record below in this case. However, if the additional facts are

considered, they would not establish that Appellants would suffer irreparable harm

by waiting to appeal a final determination of the Commission under 28 U.S.C.

§ 1581(c).

      Defendant-Intervenor-Appellee submits that the additional facts alleged were

not presented to the Commission or to the CIT and therefore should not be

considered by this Court. Notably, even these additional allegations are analogous

to those rejected as insufficient in Firestone. While there are general representations

of the type of information that was alleged to have been provided, they are utterly




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lacking in a “concrete example” of actual harm that will result.3 As noted above, the

allegations certainly do not rise to level of being “effectively unreviewable” absent

immediate appeal. Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 376

(1981). Accordingly, none of the new facts pled by Plaintiffs meet their burden to

establish irreparable harm such that this Court’s exercise of jurisdiction under 28

U.S.C. § 1581(c) would be manifestly inadequate.

                    c.     Makita Corp. v. United States Does Not Provide Support
                           For Appellants’ Position

      Plaintiffs desperately attempt to rely on Makita Corp. v. United States, 819 F.

Supp. 1099, 1100 (Ct. Int’l Trade 1993) for support of their argument that

jurisdiction is proper under 28 U.S.C. § 1581(i). As an initial matter, Makita is


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    Defendant-Intervenor-Appellee further notes that the new allegations are (1)
anchored in the scope definition and other information that are clearly in the public
domain (e.g. publicly available information regarding manufacturing processes of
the OEM market); (2) are irrelevant to the statutory injury factors at issue in the
investigation; (3) the adverse interests at stake here are those of ASF-K, the Mexican
producer, whom all parties appear to agree was never a client of the Attorney or the
Law Firm; and (4) there was an operable [
            ] covering the specified information; and (5) importantly, the nature of
the joint representation in the form of an ad hoc trade association impacted the duty
of confidentiality. Indeed, it is well established that, pursuant to a joint
representation, in a subsequent proceeding in which former co-clients are adverse,
one of them may not invoke the attorney-client privilege against the other with
respect to communications involving either of them during the co-client relationship.
Rules governing the co-client privilege are premised on an assumption that co-
clients usually understand that all information is to be disclosed to all of them. Courts
sometimes refer to this as a presumed intent that there should be no confidentiality
between co-clients. See e.g., (Appx2045-2046, Restatement (Third) of the Law
Governing Lawyers, § 75).

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obviously not binding on the CIT or this Court. In addition, in Makita, the question

of whether jurisdiction under 28 U.S.C. § 1581(i) was legally proper was not

decided. Id. at 1103. Accordingly, this isolated CIT decision, which appears to be

inconsistent with Supreme Court precedent, cannot save Appellants’ attempt to

inappropriately shoehorn their case into an interlocutory appeal.

      As the CIT indicated in its extensive analysis of Makita, the allegations made

by the plaintiffs in that case are clearly distinguishable from this case. (Appx26).

The CIT indicated that it was “abundantly clear that the attorney was aware of

specific categories of information relevant to Makita’s defense in the antidumping

investigations and that those categories of information extended far beyond what

Makita would have otherwise revealed under the APO.” (Appx26-27). The CIT

compared the allegations in this case against the allegations made in Makita and

determined that Appellants’ allegations of attorney misconduct in this case were too

threadbare to meet the more specific showing of irreparable harm to establish

manifest inadequacy of jurisdiction under § 1581(c).        (Appx27).    The CIT’s

distinguishing analysis of Makita from the facts of this case is consistent with the

reasoning of the Supreme Court in Firestone, recognizing that litigants seeking

disfavored interlocutory proceedings must provide something more than the general

“possibility that the course of the proceedings may be indelibly stamped or shaped

with the fruits of a breach of confidence or by acts or omissions prompted by a


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divided loyalty.” (Appx25-27). Firestone Tire & Rubber Co. v. Risjord, 449 U.S.

368, 376 (1981). Indeed, Firestone recognized that the propriety of a denial of a

disqualification motion “will often be difficult to assess until its impact on the

underlying litigation may be evaluated, which is normally only after final judgment.”

Id. at 377. This Court should affirm the CIT’s holding which is fully consistent with

Supreme Court precedent.

                   d.      The Substantial Relationship Jurisdictional Test That
                           Appellants Propose Does Not Exist

      Appellants are attempting to manufacture a jurisdictional rule according to

which immediate appeal of denials of attorney disqualification decisions of the

Commission under 28 U.S.C. § 1581(i) are appropriate when there is a substantial

relationship between the two matters implicated in the conflict of interest analysis.

(ECF-31, Appellants’ Principal Brief, p. 28). Appellants stated that “showing a

‘substantial relationship’ between the two matters should suffice, for jurisdictional

purposes, to establish a substantial risk that the lawyer has confidential information

to use.” (ECF-31, Appellants’ Principal Brief, p. 28).

       Appellants’ proposed “substantial relationship” test for jurisdiction is not an

analysis that has or should be used to justify residual jurisdiction under 28 U.S.C.

§ 1581(i). In holding that Appellants failed to establish a likelihood of success on

their “substantial relationship” theory of jurisdiction, the CIT indicated, when it

rejected Appellants’ motion for an injunction pending appeal, that “even if the court

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were to conclude that a conflicted representation of two substantially related matters

existed, Plaintiffs fail to identify any authority showing that such a finding is by

itself sufficient to satisfy the burden of establishing jurisdiction under § 1581(i).”

(Appx44).

                            i.       First, There Must Be A Conflict With A Former
                                     Client, Which Is Not The Case Here

      For a substantial relationship argument to be at all relevant to a conflict of

interest analysis there must first be a conflict of interest with a former client.

Appellants’ novel theory that showing a ‘substantial relationship’ between two

matters alone is sufficient to establish jurisdiction would require the Court to

presume that there is a conflict with a former client. All parties appear to agree that

ASF-K, the Mexican producer at issue, was never a former client of the attorney.

(Appx1403; Appx1501). The fact that Appellants’ newly created jurisdictional

theory would require the Court to accept unproven and fundamental findings

regarding conflicts of interests with a former client demonstrates the flaws in this

approach.

                            ii.      There Must Be A Live Conflict And, In This
                                     Case, The Conflict Was [                 ]
                                     And By Joint Representation

      As a further demonstration of the inherent failings of Appellants’ “substantial

relationship” test as a sufficient basis for jurisdiction in and of itself, this theory

presumes not just a former client but also the existence of an actionable [

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          ] conflict. Such a presumption is clearly not warranted in the face of the

[                                                                 ] in the current matter.

      In In re Shared Memory Graphics, the Federal Circuit vacated an erroneous

disqualification order and, in doing so, considered a fact pattern that is [

              ] where, during a period of cooperation, the parties to a joint defense

agreement shared information and had put in place an advance cooperation waiver

stating “nothing in this Agreement . . . shall be used as a basis to seek to disqualify

the respective counsel of such party in any future litigation.” 659 F.3d 1336, 1338-

39 (Fed. Cir. 2011). Following the initial cooperative representation, one attorney

who was in-house counsel for one of the parties to the joint defense agreement joined

a law firm as partner and later became adverse to one of the other members of the

joint defense agreement. Id. at 1339. The district court granted the complaining

party’s motion to disqualify the accused counsel’s entire law firm, reasoning that

there was a presumption of access to confidential information in a matter that

“involved similar technology and similar legal issues.” Id. The Federal Circuit

reversed on a finding of clear error, recognizing the operation of the advance waiver

such that an attorney “who subsequently left one of the parties or its counsel to join

another company or law firm” and then was engaged in a related matter could not

be disqualified. Id. at 1340-1341.




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      Defendant-Intervenor-Appellee        reminds     the    Court    that   Appellants

[                                                        ]. (See supra at section I(A)).

The In re Shared Memory Graphic case is an instance in which the Federal Circuit

rejected the same arguments that the Appellants are making in attempting to

circumvent the [                                                                    ]. As

the preamble to the American Bar Association’s Model Rules indicate, the ethical

rules that govern attorney conduct are rules of reason such that the Attorney’s

[                                ] should be interpreted consistently with its purpose.

(Appx2040, Preamble to ABA Model Rules of Professional Conduct).

      The incorrectness of Appellants’ newly created “substantially related” test,

which is held out for the purpose of proving irreparable harm, is demonstrated by

the fact that it assumes facts that are not correct. Appellants’ jurisdictional test fails

to account for the fact that the engagement agreement contained an [




                                                          ]. (Appx1406). With respect

to the [                                ], such [            ] are presumptively valid.

(Appx2023, D.C. Bar Ethics Opinion 309). In other words, Appellants’ theory that

just proving “substantially related” matters is conclusive proof of irreparable harm


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sufficient to establish jurisdiction is not only legally unsupported but it fails to

account for well-established ethics principles, including that the Attorney and the

Coalition relied in good faith on [

                         ].

                           iii.   There Is No Substantial Relationship Between
                                  The Current Investigation And The Predecessor
                                  Investigation

      Even if the Court did apply the newly created “substantial relationship”

jurisdictional test, Appellants would still fail to establish jurisdiction under 28

U.S.C. § 1581(i). The Predecessor Investigation and the Current Investigation are

not substantially related pursuant to the leading case on this issue.

      That two investigations involve the same statutory scheme and similar facts

does not demonstrate that the cases involved are substantially related. Watkins v.

Trans Union, LLC, 869 F.3d 514, 517-518, 525 (7th Cir. 2017). Similarly, here, the

Predecessor Investigations and the Current Investigations are different cases.

Indeed, the difference between the two investigations was the genesis of Appellants’

complaint before the CIT. While both investigations involve the dumping and

subsidization of freight rail couplers, the prior investigation included a broader scope

than the current investigation, a different period of investigation, different parties,

and only covered merchandise imported from China.




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      Importantly, GEO Specialty Chemical, Inc. v. Husisian specifically addresses

the issue of whether two antidumping proceedings are substantially related. 951 F.

Supp. 2d 32, 43 (D.D.C. 2013). In GEO Specialty Chemical, Inc. v. Husisian, the

U.S. District Court for the District of Columbia found that two antidumping related

proceedings involving the same product from the same country and arising from the

same investigation were not substantially related:

      “{E}ach Commerce Department review or proceeding . . . is its own
      ‘administrative proceeding, . . . claim, {or} investigation’ and therefore
      qualifies as its own ‘matter.’ . . . It would be contrary to this definition,
      not to mention common sense, for this Court to lump together every
      glycine review that has occurred in the past eighteen years and that
      occurs indefinitely into the future simply because they deal with the
      same general matter under the same administrative I.D. number.” Id.

It is worth noting that GEO Specialty Chemical dealt with two matters connected to

the very same antidumping investigation. The Predecessor Investigation and the

Current Investigation are different cases, with different records, different countries,

different scopes, and different parties and are not substantially related. Thus, even

if this Court were to give any weight to Appellants’ assertion that a substantial

relationship is important in the irreparable harm analysis, the leading case on the

matter supports a finding that the two different investigations qualify as different

“matters” and therefore are not substantially related.




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                    e.     Appellants’ Assertion That It Is Not Legally Possible
                           To Receive A Remedy For Their Attorney
                           Disqualification Claims Under 28 U.S.C. § 1581(c) Is
                           False

      Appellants boldly assert that consideration of their attorney disqualification

claim under 28 U.S.C. § 1581(c) following a final determination by the Commission

cannot afford them a remedy because such a claim would allegedly not be allowed

in an appeal of “{f}inal administrative determinations” within the ambit of 19

U.S.C. § 1516a(a)(2)(B)(i) and 28 U.S.C. § 1581(c). (ECF-31, Appellants’ Principal

Brief, p. 40; Appx41). As previously discussed, in relation to the Firestone and

Shakeproof cases, attorney disqualification decisions of district courts and of

agencies are considered procedural matters that are reviewed on appeal of a final

decision of a district court and the final determination of an agency. See supra at

section VII(B)-(C). As a result, Appellants’ attorney disqualification claim could be

appropriately reviewed under 28 U.S.C. § 1581(c) jurisdiction following a final

determination by the Commission.

      As for Appellants’ arguments that the standard of review under 28 U.S.C.

§ 1581(c), which is whether Commission’s final determination was “unsupported by

substantial evidence on the record or otherwise not in accordance with the law” is

unworkable as applied to attorney disqualification decisions, the CIT, in its

November 15, 2022 opinion, recalled that Appellants “may easily reframe the . . .

arbitrary and capricious refusal to disqualify . . . as components of challenges to final

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determinations ‘unsupported by substantial evidence on the record, or otherwise not

in accordance with the law.’”4 (Appx19). The CIT continued to state that “{n}either

party disputes that ‘{u}nder 28 U.S.C. § 1581(c) and 19 U.S.C. § 1516a, the

procedural correctness” of any determination listed under 19 U.S.C. §§ 1516a and

1517, ‘as well as the merits, are subject to judicial review.’” (Appx19).

      Contrary to Appellants’ submissions, the CIT has all the powers of a District

Court in law and equity to fashion a remedy, if it is required under the law. Nor have

Appellants provided much in regard to an explanation as to why the CIT could not

provide a remedy for an arbitrary and capricious decision by the agency (if so

proven).

      In sum, the CIT has full authority to remand the matter to ensure that no harm

to the investigative process occurred.      Indeed, consistent with Firestone, the

propriety of the denial of a disqualification motion will often be difficult to assess

until its impact on the underlying investigation may be evaluated, which is normally

only after final judgment. Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368,

377 (1981).




4
  The Attorney disqualification claim in the Appellants’ Amended Complaint was
based on a violation of the Administrative Procedure Act for arbitrary and capricious
decision making. It is well established that the CIT may review final decisions of
the Commission pursuant to the arbitrary and capricious standard. (Appx74).

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      E.     Appellants’ Arguments Are Further Undermined By The Fact
             That The Commission May Yet Make A Decision In Their Favor

      The underlying issue that Appellants wish the CIT to address is not yet ripe.

Appellants wrongly assume that the Commission has made a final determination on

the attorney disqualification issue that can be appealed.       However, when the

Commission denied ARC’s attorney disqualification claim, it indicated that there

was no good cause “at this time” to disqualify the Attorney and the Law Firm.

(Appx54-55). Since the disqualification issue may be decided by the Commission

in the final phase of its investigation, this appeal is premised on an incorrect

presumption that the Commission will not make a later in time decision.

      Just as importantly, the Appellants’ case is based on an assumption that there

is going to be an affirmative Commission determination such that they would have

a reason to appeal a final determination of the Commission under 28 U.S.C.

§ 1581(c). However, the final determination of the Commission, be it affirmative or

negative, is currently unknown and the Appellants’ appeal is thus premature.

      F.     The CIT’s Decision Denying Appellants’ Writ Of Mandamus
             Claim Should Be Affirmed

      The CIT’s decision not to grant Appellants’ requested mandamus relief is

reviewed by this Court for abuse of discretion, which is a highly deferential standard

of review.    See Neville v. Lipnic, 778 F. App’x 280, 284 (5th Cir. 2019).

“{D}eference to the trial court . . . is the hallmark of abuse-of-discretion review.”


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Bayer CropScience AG v. Dow Agrosciences LLC, 851 F.3d 1302, 1306 (Fed. Cir.

2017). The CIT properly denied Appellants’ request for mandamus, and the CIT’s

decision in this respect should be affirmed because the CIT did not abuse its

discretion.

      Although the CIT may order mandamus relief under 28 U.S.C. § 2643(c)(1)

to compel an officer or employee of the United States or any agency to perform a

duty owed to the plaintiff, the CIT correctly noted in its analysis of the issue that the

“remedy of mandamus is a drastic one, to be invoked only in extraordinary

circumstances.”      (Appx31).   In order for a writ of mandamus to issue, three

conditions must be satisfied, which are as follows: “first, the party seeking issuance

of the writ {must} have no other adequate means to attain the relief he desires — a

condition designed to ensure that the writ will not be used as a substitute for the

regular appeals process. Second, the petitioner must satisfy the burden of showing

that {the} right to issuance of the writ is clear and indisputable. Third, even if the

first two prerequisites have been met, the issuing court, in the exercise of its

discretion, must be satisfied that the writ is appropriate under the circumstances.”

Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367 (2004) (internal citations omitted);

see also In re Stone, 940 F.3d 1332, 1338 (D.C. Cir. 2019).

      The CIT did not abuse its discretion when it held that the first requirement for

the issuance of a writ of mandamus was not satisfied because “Plaintiffs may


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adequately obtain relief through a potential suit challenging the Commission’s injury

determination under 28 U.S.C. § 1581(c).” (Appx32). The CIT’s evaluation of the

availability of relief on the attorney disqualification issue under 28 U.S.C. § 1581(c)

and of the fact that such relief would not be manifestly inadequate is discussed at

length in section VII(D) above and was not an abuse of discretion.

      Even if the CIT had moved past the first prong of the mandamus analysis,

mandamus relief would not have been appropriate. With regard to the second prong,

Appellants do not have a clear and indisputable right to relief. In order to prevail on

a writ of mandamus, the Appellants must identify a clear, nondiscretionary duty that

the agency owed them under the applicable law and demonstrate that the agency

breached this duty. S. Shrimp All. v. United States, 617 F. Supp. 2d 1334, 1361 (Ct.

Int’l Trade 2009).     Under the Commission’s regulations, decisions regarding

attorney disqualification are discretionary.5 As a result, the CIT could not have

determined that the Appellants had a clear, non-discretionary right to relief, such that

the agency breached an explicit duty.




5
  19 C.F.R. § 201.15(a) expressly states that “{a}ny attorney or agent practicing
before the Commission . . . may for good cause shown be suspended or barred from
practicing before the Commission, or have imposed on him such lesser sanctions as
the Commission deems appropriate, but only after the Commission has the
opportunity to present its views on the matter.” (emphasis added).

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      Based on the facts of this case, Appellants also do not have a clear and

indisputable right to relief. ARC [



              ] and that there is a dispute [                       ] indicates that the

Appellants’ claimed right to relief is not clear and indisputable. (Appx1406). There

is also no actual conflict with a former client as ASF-K was never a client of the

Attorney. Moreover, that the representation of ARC was as a co-client member of

the Coalition implies a presumed intent that there is no confidentiality between co-

clients.6 Established ethics opinions of the D.C. Bar make clear that a former client

is prohibited from [                       ] if it has been relied upon by the Attorney

or the other client. (Appx1535, D.C. Bar Ethics Opinion 317). All of these facts

prevent a finding of a clear and indisputable right to mandamus action.7

      Third, writ of mandamus relief is not appropriate under the circumstances

because Appellants were not entitled to prevail on such an extraordinary remedy.

See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 369 (2004) (stating that



6
  Restatement (Third) of the Law Governing Lawyers, § 75. (Appx2045). See
Declaration of Michael S. Frisch (Appx2035, ¶ 8).
7
  A litigant seeking to set aside a decision on an attorney disqualification claim must
also show that the order attacked was patently erroneous. See Matter of Sandahl,
980 F.2d 1118, 1121 (7th Cir. 1992); In re Mechem, 880 F.2d 872, 874 (6th Cir.
1989). The Commission’s decision on Appellants’ attorney disqualification request
was not patently erroneous as the Commission acted within its discretion under 19
C.F.R. § 201.15 not to disqualify the Attorney and Law Firm at this time.

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mandamus is a “drastic and extraordinary” remedy “reserved for really extraordinary

cases”).   Indeed, several U.S. Circuit Courts of Appeals have cautioned that

decisions on motions to disqualify counsel will rarely justify the issuance of the writ

of mandamus. See In re Bushkin Assocs., Inc., 864 F.2d 241, 243 (1st Cir. 1989)

(stating that “in the great majority of instances {of attorney disqualification},

mandamus would be utterly inappropriate.”); In re Ford Motor Co., 751 F.2d 274,

276 (8th Cir. 1984) (denying a writ of mandamus challenging a district court’s

decision to deny a motion to disqualify counsel); In re Am. Airlines, Inc., 972 F.2d

605, 608-609 (5th Cir. 1992) (granting the writ under extraordinary circumstances).

In this case, the CIT properly held that Appellants have an adequate avenue to pursue

their claims against the Commission using 28 U.S.C. § 1581(c) as their basis of

jurisdiction after the Commission makes a final determination, and Appellants’

conflict of interest claims do not approach the threshold that would warrant

extraordinary mandamus relief under the circumstances.

      As a result, this Court should hold that the CIT did not abuse its discretion in

declining to grant the Appellants’ writ of mandamus and should affirm the CIT’s

decision on the basis that the Appellants had an alternative avenue for relief under

28 U.S.C. § 1581(c).




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VIII. The CIT Did Not Abuse Its Discretion When It Dismissed The
      Appellants’ Verified Amended Complaint Without Leave To Amend

      Appellants have asked this Court to hold that the CIT abused its discretion

when it dismissed the Amended Complaint without sua sponte granting leave to

amend for a second time.        (ECF-31, Appellants’ Principal Brief, p. 59).         As

previously recalled, the abuse of discretion standard is highly deferential to the trial

court. Bayer CropScience AG v. Dow Agrosciences LLC, 851 F.3d 1302, 1306 (Fed.

Cir. 2017).

      Under CIT Rule of Procedure 15(a)(1), a party may amend its pleading once

as a matter of course within 21 days after serving it or, if the pleading is one to which

a response is required, 21 days after service of the responsive pleading or 21 days

after service of a motion. Appellants filed their verified complaint at the CIT on

October 14, 2022.      (Appx1546).      Appellants used their right to amend their

complaint as a matter of course on October 24, 2022. (Appx11; Appx 271). Under

CIT Rule of Procedure 15(a)(2), the Appellants could have amended their complaint

again with the other party’s written consent or the court’s leave.

      The Appellants did not seek consent or leave to file a second amended

complaint, yet they maintain that the CIT should have given them the opportunity to

do so sua sponte. The CIT did not, in deciding not to offer Appellants leave to

amend sua sponte, abuse its discretion. The CIT properly rejected the Appellants’

reliance on Makita and followed controlling Supreme Court precedent prohibiting

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interlocutory appeal.   (Appx26-30).     Appellants never moved to amend their

complaint for a second time, nor was there any obligation for the CIT to, on its own

order, provide Appellants with an opportunity to file a third complaint to attempt to

fix their lack of jurisdiction. Nor have Appellants make any meritorious claim in

regard to how such a decision would amount to an abuse of discretion.

      Appellants also claim that the CIT imposed an overly onerous jurisdictional

standard on them that they could not have anticipated when it required them to plead

irreparable harm. (ECF-31, Appellants’ Principal Brief, p. 55). As an initial matter,

the CIT did not impermissibly shift the burden to Appellants to prove that an appeal

of the final determination of the Commission under 28 U.S.C. § 1581(c) would be

manifestly inadequate because, as the CIT indicated when it rejected the Appellants’

motion for injunction pending appeal, “Plaintiffs bore the burden in the first place.”

(Appx43).     Moreover, the Supreme Court precedent in Firestone has been

established for decades and Appellants failed to address this issue in either their

original complaint or their Amended Complaint. As for Appellants’ argument that

they were guided by the Makita case in terms of the facts that they believed they

needed to allege to establish irreparable harm, Makita is neither binding on the CIT

or this Court and was a case in which the issue of whether 28 U.S.C. § 1581(c)

jurisdiction was manifestly inadequate was not at issue since 28 U.S.C. § 1581(i)

jurisdiction at the CIT was not contested by the defendant.


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      As previously explained, the Appellants present new factual allegations for

the first time on appeal, purporting to offer these facts for the purpose of correcting

deficient allegations set forth in their previous two complaints, as Appellants’

reference to the Supreme Court’s opinion in Newman-Green, Inc. v. Alfonzo-

Larrain, 490 U.S. 826, 831 (1989) suggests. (ECF-31, Appellants’ Principal Brief,

p. 23, fn. 6, 57-58). 28 U.S.C. § 1653 provides that “{d}efective allegations of

jurisdiction may be amended, upon terms, in the trial or appellate courts.” The

Supreme Court has indicated that 28 U.S.C. § 1653 permits parties to amend only

“incorrect statements about jurisdiction that actually exists, and not defects in the

jurisdictional facts themselves.” Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S.

826, 831 (1989). See Alps South, LLC v. The Ohio Willow Wood Co., 787 F.3d 1379,

1386 (Fed. Cir. 2015) (holding that because “{t}here were no errors in the

jurisdictional facts as pleaded in the original complaint . . . Alps could not avail itself

of {28 U.S.C.} § 1653 to amend the jurisdictional allegations that appeared in its

original complaint.”). Here, the newly presented facts do not modify incorrectly

alleged jurisdictional facts—rather, they inflate and expound the facts previously

alleged and, at most, expand upon and recast the originally pled jurisdictional facts

themselves. As a result, this Court should not allow the new factual allegations made

in pages 23 through 26 of the Appellants’ principal brief to be considered as

jurisdictional facts on appeal. However, even if the Court accepts the additional


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facts (that were never presented to the agency or the court below), consistent with

the legislative history of the statute, a plain reading of the law, and Supreme Court

precedent, the dismissal for lack of jurisdiction should be affirmed.

                                  CONCLUSION

      Defendant-Intervenor-Appellee respectfully requests this Court to affirm the

CIT’s judgment and hold that there is not jurisdiction under the residual 28 U.S.C.

§ 1581(i) to hear an interlocutory appeal of the Commission’s rejection of

Appellants’ attorney disqualification claim. It is also respectfully submitted that the

CIT did not abuse its discretion when it denied Appellants’ writ of mandamus claim,

and that the CIT did not abuse its discretion when it dismissed the Appellants’

amended verified complaint without sua sponte providing leave to amend.




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Dated: February 22, 2023            Respectfully submitted,

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                       FOR THE FEDERAL CIRCUIT

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                 25.1(d)(1), and the filing is accompanied by a motion to waive the
                 confidentiality requirements.
        02/22/2023
  Date: _________________                          Signature:       /s/ Daniel B. Pickard, Esq.

                                                                    Daniel B. Pickard, Esq.
                                                   Name:




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FORM 30. Certificate of Service                                                                                                       Form 30
                                                                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF SERVICE

            Case Number 23-1355
   Short Case Caption Amsted Rail Company, Inc. v. ITC


 NOTE: Proof of service is only required when the rules specify that service must
 be accomplished outside the court’s electronic filing system. See Fed. R. App. P.
 25(d); Fed. Cir. R. 25(e). Attach additional pages as needed.

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        Additional pages attached.
□
        02/22/2023
  Date: _________________                                               Signature:                         /s/ Daniel B. Pickard, Esq.

                                                                        Name:                              Daniel B. Pickard, Esq.




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                         No. 2023-1355


                            IN THE
        United States Court of Appeals
               FOR THE FEDERAL CIRCUIT
                 _______________________

            AMSTED RAIL COMPANY, INC.,
          ASF-K DE MEXICO S. DE R.L. DE C.V.,
           STRATO, INC., and TTX COMPANY,
                     Plaintiffs-Appellants,
                              and
                   WABTEC CORPORATION,
                           Plaintiff,

                               v.

 UNITED STATES INTERNATIONAL TRADE COMMISSION
    and ACTING SECRETARY KATHERINE M. HINER,
                 in her official capacity,
                     Defendants-Appellees,
                              and
    COALITION OF FREIGHT COUPLER PRODUCERS,
               Defendant-Intervenor-Appellee.
                 _______________________

           On Appeal from the United States Court
          of International Trade, Case No. 22-00307,
                   Judge Gary S. Katzmann
                  _______________________

DEFENDANT-INTERVENOR-APPELLEE’S MOTION TO WAIVE
    CONFIDENTIALITY WORD COUNT REQUIREMENT
                   _______________________
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                                INTRODUCTION

      Defendant-Intervenor-Appellee, Coalition of Freight Coupler Producers,

pursuant to Federal Circuit Rule 25.1(d)(3), hereby moves this Court to waive the

confidential word count requirement for its Response Brief. Pursuant to Federal

Circuit Rule 25.1(d)(1)(A), each motion, petition, response, reply, or brief may

mark as confidential up to fifteen unique words. Defendant-Intervenor-Appellee’s

Response brief marks as confidential 65 unique words that have not previously

been afforded confidential treatment in this proceeding.

                                  ARGUMENT

      Defendant-Intervenor-Appellee respectfully submits that good cause exists

for this waiver. The relevant information contained herein refers to certain

identifying information and communications, which were covered by the

Protective Order in the originating case. See ECF No. 53.

      The Joint Protective Order from the case below specifies that “Material

designated as Proprietary Information shall be treated as such by the parties until

the Court has determined or ordered otherwise.” Id. This is consistent with Federal

Circuit Rule 25.1(c)(1), which states that, “In general, any portion of the record

that was subject to a protective order in the trial court or agency must remain

subject to that order on appeal or review.” Defendant-Intervenor-Appellee treats


                                          1
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this information as confidential in order to ensure both compliance with the Joint

Protective Order and that the information does not lose its confidential status. See

FED. CIR. R. 25.1(c)(1).

                             PRAYER FOR RELIEF

      Defendant-Intervenor-Appellee therefore respectfully requests that the Court

order that the confidential information contained in square brackets in its Response

be treated as confidential by the Court.

Dated: February 22, 2023



                                 Respectfully Submitted,

                                 /s/ Daniel B. Pickard
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